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   1    Ashley M. McDow (245114)
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   6

   7    Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
   8    INC., and SCOOBUR, LLC
   9

  10                                UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
  11                                      LOS ANGELES DIVISION
  12
         In re:                                                        Case No. 2:19-bk-14989-WB
  13     SCOOBEEZ, et al.1                                             Jointly Administered:
                                                                       2:19-bk-14991-WB; 2:19-bk-14997-WB
  14                Debtors and Debtors in Possession.
                                                                       Chapter 11
  15
         Affects:
  16     ■ All Debtors                                                 DECLARATION OF SHANE J. MOSES
         □ Scoobeez, ONLY                                              IN SUPPORT OF DEBTORS’
  17     □ Scoobeez Global, Inc., ONLY                                 SUPPLEMENTAL BRIEF (A) IN
         □ Scoobur LLC, ONLY                                           FURTHER SUPPORT OF THE
  18                                                                   DEBTORS’ EMERGENCY MOTION
                                                                       FOR PRELIMINARY INJUNCTION TO
  19                                                                   PREVENT VIOLATION OF THE
                                                                       AUTOMATIC STAY, AND (B) IN
  20                                                                   OPPOSITION TO AMAZON LOGISTICS
                                                                       INC.’S MOTION MODIFYING THE
  21                                                                   AUTOMATIC STAY
        SCOOBEEZ, INC.,
  22                                                                   Hearing:
                                            Plaintiff,
        v.                                                             Date: February 25, 2020
  23                                                                   Time: 10:00 a.m.
        AMAZON LOGISTICS, INC.,                                        Place: Courtroom 1375
  24                                                                          U.S. Bankruptcy Court
                                            Defendant.                        255 East Temple Street
  25                                                                          Los Angeles, CA 90012
  26

  27
        1
          The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
  28    Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
        Boulevard, Glendale, California 91214.


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   1               I, Shane J. Moses, do hereby declare:
   2               1.     I am an individual over the age of eighteen. I am of counsel with the law firm of
   3    Foley & Lardner LLP, counsel for Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the
   4    debtors and debtors in possession (collectively “Debtors” or “Scoobeez”) in the above-captioned
   5    chapter 11 bankruptcy cases (collectively the “Chapter 11 Cases”).
   6               2.     Except as otherwise indicated, all statements made herein are based on my
   7    personal knowledge or my review of relevant documents. If called to testify as a witness in this
   8    matter, I could and would competently testify under oath to the trust of the statements below.
   9               3.     I make this declaration in support of the Debtors’ Supplemental Brief (A) In
  10    Further Support of the Debtors’ Emergency Motion for Preliminary Injunction to Prevent
  11    Violation of the Automatic Stay, and (B) In Opposition to Amazon Logistics Inc.’s Motion
  12    Modifying the Automatic Stay (the “Brief”). Unless otherwise defined herein, all capitalized
  13    terms shall have the same meaning as ascribed to them in the Brief.
  14               4.     Attached as Exhibit 1 is a true and correct copy of the Transcript of Deposition of
  15    James Wilson, January 28, 2020, taken in the Chapter 11 Cases (the “Wilson Transcript.”). To
  16    reduce pages, Exhibit 1 includes only those portions of the Wilson Transcript cited in the Brief.
  17               5.     Attached as Exhibit 2 is a true and correct copy of the Transcript of Deposition of
  18    Micah McCabe, January 17, 2020, taken in the Chapter 11 Cases (the “McCabe Transcript”). To
  19    reduce pages, Exhibit 2 includes only those portions of the McCabe Transcript cited in the Brief.
  20               6.     Attached as Exhibit 3 is a true and correct copy of the Transcript of Deposition of
  21    Scott Kaufman, January 22, 2020, taken in the Chapter 11 Cases (the “Kaufman Transcript”). To
  22    reduce pages, Exhibit 3 includes only those portions of the Kaufman Transcript cited in the Brief.
  23               7.     Attached as Exhibit 4 is a true and correct copy of the Transcript of Deposition of
  24    David Ojeda, February 13, 2020, taken in the Chapter 11 Cases (the “Ojeda Transcript”). To
  25    reduce pages, Exhibit 4 includes only those portions of the Ojeda Transcript cited in the Brief.
  26               8.     Attached as Exhibit 5 is a true and correct copy of the Transcript of Deposition of
  27    Vadim Kozin, January 17, 2020, taken in the Chapter 11 Cases (the “Kozin Transcript”). To
  28    reduce pages, Exhibit 5 includes only those portions of the Kozin Transcript cited in the Brief.


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   1               9.     Attached as Exhibit 6 is a true and correct copy of the Transcript of Deposition of
   2    George Voskanian, January 28, 2020, taken in the Chapter 11 Cases (the “Voskanian
   3    Transcript”). To reduce pages, Exhibit 6 includes only those portions of the Voskanian
   4    Transcript cited in the Brief.
   5               10.    Attached as Exhibit 7 is a true and correct copy of the Transcript of Deposition of
   6    Scott A. Sheikh, January 29, 2020, taken in the Chapter 11 Cases (the “Sheikh Transcript”). To
   7    reduce pages, Exhibit 7 includes only those portions of the Sheikh Transcript cited in the Brief.
   8               I declare under penalty of perjury under the laws of the United States of America that the
   9    foregoing is true and correct. Executed this 19th day of February, 2020 at Berkeley, California.
  10

  11                                                            ___/s/ Shane J. Moses______________
                                                                        Shane J. Moses
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2                  CENTRAL DISTRICT OF CALIFORNIA
3                          LOS ANGELES DIVISION
4     ____________________________
5     In re:                                    )
6     SCOOBEEZ, et al.                          )
7      Debtors and Debtors                      )    Case Nos.
8      in Possesion.                            )    2:19-bk-14991-WB
9     vs.                                       )    2:19-bk-14997-WB
10    ____________________________)
11
12              VIDEOTAPED DEPOSITION OF JAMES WILSON
13               TAKEN BY A CERTIFIED COURT REPORTER
14                            LAS VEGAS, NEVADA
15                      TUESDAY, JANUARY 28, 2020
16                               at 10:09 a.m.
17
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22
23    Reported By: LISA MAKOWSKI, CCR 345, CA CSR 13400
24    JOB NO:     3955993
25    PAGES 1 - 333

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1     APPEARANCES:
2     For Hillair Capital Management, LLC:
3                        QUINN EMANUEL URQUHART & SULLIVAN, LLP
4                        BY:    JENNIFER L. NASSIRI, ESQ.
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20
21    For Amazon, Inc.:
                         MORGAN, LEWIS & BOCKUS LLP
22                       BY:    THOMAS S. HIXSON, ESQ.
                         1701 Market Street
23                       Philadelphia, PA 19103
                         (215)963-5001
24                       Klair.fitzpatrick@Morganlewis.com
      The Videographer:         John Seymore
25                                 * * * * *

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1             A.   Okay.     Perfect.
2             Q.   -- discuss.
3                  And then one thing, I have a tendency to
4     talk fast, and I'm going to do my best to talk
5     slow.
6             A.   Okay.
7             Q.   But, also, I ask till -- you wait until I
8     finish my question --
9             A.   Okay.
10            Q.   -- before you answer.
11            A.   Okay.
12            Q.   It becomes -- yeah, it becomes very easy
13    to be conversational.           But the reality is, for the
14    record, it's much cleaner if I ask a question, you
15    answer, I ask the next question.                     I do a lot of
16    okays, and I know that you're doing okays, but
17    let's try -- it's very hard.                It's human nature --
18    to not talk over one another.
19                 Is that fair?
20            A.   Okay.
21            Q.   If you want to take a break, feel free to
22    take a break anytime.           I just would ask that you
23    wait until a question -- that a question isn't
24    pending while -- during that break.                     So you answer
25    the question, and then you guys can take a break.

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1                  Is that fair?
2           A.     Yes.
3           Q.     Okay.     You'll be given a written
4     transcript of this deposition for you to review,
5     and you want to go over it, make sure that it's
6     accurate.     But I just want to -- to caution you
7     that if you make like a substantive change, like
8     you changed a yes answer to a no, I'll also have
9     the ability to comment on that at trial, and it may
10    affect your credibility.
11                 Do you understand that?
12          A.     Yes.
13          Q.     Also, I want to caution you to -- to have
14    your answers be verbal not uh-huh and uh-uh because
15    the record can be ambiguous as to whether you meant
16    a yes or a no.        So we'll try to make -- if you can
17    try to make your answers verbal, that would be
18    great.
19          A.     Okay.
20          Q.     Got that?
21                 Okay.     Are you taking any medication that
22    may impact your ability to give your best testimony
23    today?
24          A.     No.
25          Q.     So before we begin, I just want to go

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1     over some terms, some commonly used terms that
2     we'll use today to make sure that we both
3     understand that they mean the same thing.                    And you
4     understand we're here as part of the bankruptcy
5     case of Scoobeez, which is in Chapter 11 in
6     bankruptcy court in the Central District of
7     California.
8                  Do you understand that?
9            A.    Yes, I understand that's why we're here.
10           Q.    Okay.      And you understand that Amazon is
11    seeking permission from the bankruptcy court to
12    terminate the agreement between Amazon and
13    Scoobeez?
14                 MS. FITZPATRICK:             Objection, calls for a
15    legal conclusion.
16                 You can answer.
17                 THE WITNESS:          Yes I understand.
18    BY MS. NASSIRI:
19           Q.    Okay.      One other thing I didn't note,
20    that your counsel may object from time to time to
21    my questions, but unless she instructs you not to
22    answer, I am entitled to your best response.
23                 Do you understand that?
24           A.    Yes.
25           Q.    Okay.      If I say Hillair Capital or

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1            A.    -- voluntarily exiting.
2            Q.    Sure.      Okay.      Thank you.
3            A.    Sorry.       I just wanted to make sure I
4     understood what you were asking me.
5            Q.    I appreciate that.               Thank you.
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1             Q.   Okay.     And a station is a -- a delivery
2     hub or where the -- where the DSPs would pick up a
3     package and take it to the -- to the customer; is
4     that correct?
5             A.   Correct.
6             Q.   Okay.     Is station the right way to refer
7     to it or --
8             A.   Sure.
9             Q.   -- better?
10            A.   Yes.
11            Q.   So we're talking about growth.               You
12    mentioned you expect the number of packages to
13    grow.
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1     station is -- is what Amazon is -- is targeting now
2     as opposed to a larger DSP?
3                  MS. FITZPATRICK:            Objection, misstates
4     testimony.
5                  THE WITNESS:         I mean, I -- I can give --
6     I mean, I -- I think it's similar to -- to what I
7     just said.        I think an owner-operator in the
8     station can -- can better manage those metrics and
9     have a -- really what I would describe as a -- a --
10    a better connection with drivers that help drive
11    those metrics.
12    BY MS. NASSIRI:
13          Q.     Is the idea that a 2.0 owner-operator
14    who's on the ground at the station will only
15    operate out of one station?
16          A.     For -- for new owners onboarded?
17          Q.     Yes.
18          A.     Yes.     That is -- we're very clear on that
19    on the Logistics@amazon.com site, the expectation
20    of operating one station.
21          Q.     Are there any 2.0s that operate out of
22    more than one station currently?
23          A.     There are migrated 2.0s --
24          Q.     Okay.
25          A.     -- that operate at multiple stations.

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1             Q.   So tell me a little bit about that.
2     How -- if -- if you were a 1.0 -- well, strike
3     that.
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12            Q.   Okay.     And so -- and I assume that the
13    2.0 DSP has a -- an agreement or a actual contract
14    that looks different than a 1.0 agreement; is that
15    correct?
16            A.   Yes.
17            Q.   So how -- do changes have to be made to
18    the 2.0 agreement by the fact that it's a migrated
19    1.0?
20                 MS. FITZPATRICK:            Objection, form.
21    BY MS. NASSIRI:
22            Q.   If they work out of 12 to 13 stations,
23    how -- how would they satisfy the requirements of a
24    2.0?
25                 MS. FITZPATRICK:            Objection, form.

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1           Q.     Okay.     And you're saying since you've
2     been involved since January --
3           A.     Since -- since January 2019.
4           Q.     You have not approved any such migration.
5           A.     Correct.       We -- like, we have no -- no
6     DSP has actually migrated and --
7           Q.     I just want to know if anyone asked and
8     said -- was said no.
9           A.     Yeah.     Yes.     People have asked -- people
10    have asked.       I -- I -- I can't recall specifically
11    which DSPs.
12          Q.     Sure.
13          A.     But I -- I know that -- that there have
14    been requests from -- from specific on-the-road
15    managers saying, hey, this DSP is asking about
16    migrating to 2.0.         So there are a number of DSPs
17    that have asked.         We haven't really developed a
18    framework yet, and so the answer is basically we're
19    not migrating right now because we don't have a
20    framework to how we want to think about it.
21          Q.     Okay.     Is that framework being developed?
22          A.     Yes.
23          Q.     And are you the person who is working on
24    that framework?
25          A.     My team.

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1     the -- the reason that we identified those 15 DSPs.
2             Q.   Okay.     And other than Scoobeez, have all
3     15 of those DSPs -- or 14 been eliminated from the
4     program?
5             A.   They --
6             Q.   Or terminated?
7             A.   The vast majority of them have been
8     terminated.       We are in process of finishing that
9     list.
10            Q.   Okay.     And in the initial -- your team's
11    initial schedule that was based on performance and
12    elimination of the 1.0s was the idea to just
13    ultimately eliminate all 1.0s from the system?
14            A.   The idea was to eliminate the 1.0
15    contract.
16            Q.   Okay.
17            A.   And so we -- we made a recommendation to
18    eliminate the contract through either termination
19    or migration.
20            Q.   Okay.     But that framework was rejected.
21            A.   Correct.
22            Q.   Okay.     Had that framework not been
23    rejected, there may be some that, barring they had
24    no performance issues, they might be migrating now
25    to the 2.0 system?

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1     where it says that "These records are created and
2     updated at or near the time the performance metrics
3     are measured and relied upon determining the
4     identity the of DSP with whom Amazon does
5     business."
6                  So this chart in paragraph 7 talks about
7     Scoobeez' performance metrics from Week 27 through
8     the present.       And we -- the present would be, I
9     imagine, the date you signed this, November 11th,
10    on or about that date.
11                 Do you know why Week 27 was chosen?
12            A.   That's when we launched our new
13    performance scorecard.
14            Q.   Oh, okay.       We will talk about scorecards
15    later.
16                 Okay.     So can you just walk me through
17    just like, say, the first line --
18            A.   Sure.
19            Q.   -- what DAOU means, and what this is --
20    what -- what is this communicating, this
21    performance percentile?
22                 MS. FITZPATRICK:            Objection to form.
23                 THE WITNESS:         So DAU1 is -- is a code for
24    a station.
25    / / /

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1     BY MS. NASSIRI:
2             Q.   Okay.
3             A.   So that's for a specific delivery station
4     or we -- you referred to it as a hub.
5             Q.   Okay.
6             A.   The number of DSPs, that's how many DSPs
7     at this time operated in that DAU1 station.
8             Q.   Okay.
9             A.   And that over the time period from
10    Week 27 to the present, Scoobeez was in the --
11    the -- the top 63 percent of performance of those
12    DSPs.
13            Q.   Okay.     So -- and is it 63 -- is it -- is
14    it a hundred?        Is the max someone could get was a
15    hundred percent?         I'm just trying to -- statistics
16    are a funny thing.
17                 MS. FITZPATRICK:            Objection to form,
18    misstates testimony.
19    BY MS. NASSIRI:
20            Q.   I'm trying to understand what this means.
21            A.   So -- so it means that yes, basically you
22    want to be -- you -- you want to be in a higher
23    percentile --
24            Q.   Okay.
25            A.   -- means -- which mean you performed

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1     better.
2             Q.   Sure.
3             A.   So -- so they're in the 63rd percentile,
4     basically, of their DSPs, which means that they're
5     slightly better than average.                 So average would be
6     50 --
7             Q.   Okay.
8             A.   -- percent.
9             Q.   Is -- is -- is -- okay.
10                 So following week -- or -- or is this
11    just by station overall for this time period?
12            A.   Correct.       So the first row is only for
13    DAU1.
14            Q.   And where's DAU1, if you know?
15            A.   I believe that's Austin.
16            Q.   Okay.     And then DCH1, 17 DSPs operate out
17    of that station, and Scoobeez was the 47th
18    percentile?
19            A.   So slightly below average.
20            Q.   Okay.     So if we go to the bottom where it
21    says average -- the bottom of the chart on page 17
22    of your declaration, average 49.58.
23                 So what does this communicate to you
24    as -- in your -- in your role at Amazon of
25    Scoobeez' performance for this time period?

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1           A.     It communicates they're almost virtually
2     average.
3           Q.     Okay.
4           A.     So if -- you know, if we use 50 percent
5     as average, so the total average line is all DSPs.
6     So if we look at all stations --
7           Q.     Not just these stations?
8           A.     Yeah.     It's the -- sorry.            Sorry.   It's
9     the average of the stations that they operate in in
10    all DSPs.
11          Q.     Okay.     And you said that these
12    percentiles come from the scorecards that were
13    introduced in or around Week 27?
14          A.     The -- the percentiles are just the
15    ranking of the scores from the scorecard.
16          Q.     Okay.
17                 MS. FITZPATRICK:            I -- I'm -- I'm sorry.
18    Can I ask a clarifying question?
19                 MS. NASSIRI:         Sure.
20                 MS. FITZPATRICK:            I'm not sure I'm
21    following.
22                 Are you saying that they -- their
23    performance was 49 percent or -- or in the case of
24    this DSX1, it was -- they're were at 39 percent on
25    their metrics or they performed worse than

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1     61 percent of the other ones that operated there?
2                  THE WITNESS:         Sorry.        They performed
3     worse than 61 percent of the operators -- of other
4     people.
5     BY MS. NASSIRI:
6           Q.     From -- for DSX1 --
7           A.     For DSX1.
8           Q.     For this time period?
9           A.     For this time period.
10          Q.     Based on this -- on the information from
11    the scorecards?
12          A.     Correct.
13          Q.     So can you explain to me, the score -- do
14    the scorecards each have a rating?                   Does the
15    scorecard say 87 percent for Week 25?
16          A.     No.
17          Q.     What does the score -- how does the
18    scorecard translate to this number that's on your
19    chart?
20          A.     It -- it -- it -- the scorecard doesn't
21    translate to this.          What -- what the scorecard will
22    say is you'll get a scorecard for every station
23    they operate in --
24          Q.     Right.
25          A.     -- every week.

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1           Q.     Right.
2           A.     And the scorecard will say for this
3     specific week in this specific station, you
4     received a score of either, you know, fantastic
5     plus or fantastic or good --
6           Q.     Okay.
7           A.     -- or poor or fair; right?
8                  MS. FITZPATRICK:            Great.
9                  THE WITNESS:         Great.        Sorry.   Excuse me.
10                 And -- and so you get that score once a
11    week per station.
12    BY MS. NASSIRI:
13          Q.     Okay.
14          A.     And so -- so when you aggregate those
15    scores over this time period and then you rank
16    everyone, these percentiles are the rankings of
17    Scoobeez compared to their peers in these stations.
18          Q.     Okay.     So is there a -- like a -- a scale
19    whereby fantastic plus is 90 percent, fantastic is
20    80 percent?       How -- how do you translate the
21    scorecard rating to a percentile?
22                 MS. FITZPATRICK:            Objection to form.
23                 THE WITNESS:         There is -- there --
24    there -- there is an actual score that's not
25    presented to a DSP.          And then we -- we -- we say if

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1     you score between X and Y, you're considered
2     fantastic plus.        If you score between, you know,
3     these two ranges -- I don't -- I don't know
4     specifically the ranges.
5     BY MS. NASSIRI:
6           Q.     Sure.
7           A.     But there are defined ranges.
8           Q.     Okay.
9           A.     And that determines your rating.
10          Q.     Okay.     We'll go through a scorecard so
11    you can explain --
12          A.     Sure.
13          Q.     -- explain to me what you know about that
14    and also the ratings, and we'll come back to this
15    because I'm still a little unclear of how to
16    translate.
17                 But the -- the -- the factors that go
18    into this performance percentile -- well, first, is
19    it true that the factors that go into these
20    percentiles, performance percentiles come from the
21    scorecards, the information in the scorecards?
22          A.     This table is built from the information
23    from the scorecards, but these -- but these
24    percentiles are -- it's just literally a stack
25    ranking --

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1     provides more information about each one.
2             Q.   Okay.      I think there actually might be
3     information attached, metric definitions and
4     weights.
5             A.   Yeah.      Yes.      I -- I'm saying incremental
6     to -- to --
7             Q.   Oh.
8             A.   -- this, there's also vis -- like, I
9     don't know how to -- lack of a better term, a
10    visual guide --
11            Q.   Okay.
12            A.   -- that -- that would explain more about
13    the metric.
14            Q.   Okay.      Do you know what this -- under
15    compliance score what 30 days' notice refers to?
16            A.   That -- that would mean do they -- so we
17    talked about before, about a cure action.
18            Q.   Yeah.
19            A.   It would mean do they have an action --
20    are they actually trying to cure something.
21            Q.   Okay.      But that wouldn't apply to 1.0s,
22    does it?
23            A.   It doesn't really apply to 1.0s.
24            Q.   But there's no separate scorecard for
25    1.0s?

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1     you -- you don't know exactly what changed on the
2     scorecards from prior to Week 27?
3             A.   I -- I'm not -- I don't specifically know
4     why we -- changed the strategy and changed our
5     scorecard in Week 26.           I wasn't intimately involved
6     with the that process.
7             Q.   Okay.     Do you -- do you generally know
8     what Scoobeez' scores were for the last quarter of
9     2019?
10                 MS. FITZPATRICK:            Objection to form.
11                 THE WITNESS:         I actually don't.
12    BY MS. NASSIRI:
13            Q.   Okay.     Are -- are the -- are Scoobeez'
14    scores a reason why Scoobeez is slotted for
15    termination from the DSP program?
16            A.   No.     The -- the reason why they were
17    slotted were the fact they were involved in
18    multiple litigations when we made the decision on
19    August 9th.
20            Q.   Okay.     So are there -- so currently in
21    the DSP system, are there DSPs with rankings below
22    an average of 49.58 that are still operating in the
23    system?
24                 MS. FITZPATRICK:            Objection, form.
25                 THE WITNESS:         Just to clarify, you're --

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1     of -- of a DSP you are not working with multiple
2     litigations.
3            Q.    Okay.
4            A.    That would be one example.
5            Q.    Okay.
6            A.    Another example of an opportunity costs
7     would be, you know, we from a capacity, planned
8     to -- to -- you know, to not have them in our
9     network.     And so we planned and recruited to have
10    other DSPs in the stations, that because Scoobeez
11    is still there, we're hindering their ability to
12    grow and scale their businesses.                     So that could be
13    another opportunity cost.
14           Q.    But -- but Amazon -- or, sorry, Scoobeez
15    is still in those stations --
16                 MS. FITZPATRICK:             Not sure --
17    BY MS. NASSIRI:
18           Q.    -- driving those routes that you had
19    slotted other DSPs to jump in and take over?
20           A.    That could potentially have been done.
21           Q.    Okay.
22           A.    That -- that would be another potential
23    example.
24                 MS. FITZPATRICK:             I'm not sure if he
25    finished his answer about --

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1           Q.     At that station.            Okay.       Very helpful.
2                  And this is -- this form is how we
3     received the document, and it starts in Week 26,
4     and I can represent to you it goes through Week 49.
5     And -- is that right?           Yeah.       And that would be
6     Week 26 through Week 49 of 2019; is that correct?
7           A.     Correct.
8           Q.     And does it start at Week 26 because
9     that's when the scorecard metrics were changed --
10          A.     Yes.
11          Q.     -- or do you know?
12          A.     Yes.     That's when we released the new
13    scorecards.
14          Q.     Okay.     So this is the most recent metrics
15    other than January -- the last three weeks of 2019
16    for Scoobeez' performance?
17          A.     Correct.
18                 MS. NASSIRI:         Okay.       So can we sort by
19    Column E.
20    BY MS. NASSIRI:
21          Q.     Okay.     So I wanted to sort by Column E so
22    we can see total poors, fairs, overall from that
23    time period.
24          A.     This -- this looks like it's sorted of by
25    Column F, just to --

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1     Logistics, Inc.?
2                  MS. FITZPATRICK:            Are you asking for a
3     legal conclusion?
4                  MS. NASSIRI:         No.      Just if he knows.
5                  THE WITNESS:         I do not.
6     BY MS. NASSIRI:
7            Q.    Okay.     So in -- in terms of the
8     litigation, and we can go through the underlying
9     pleadings, but if I represent to you that the Addal
10    file -- the Addal action was filed in September of
11    2018, the Key action was filed in October of '17,
12    and the Hamilton action was in 7 of '17, I have all
13    the dockets if you -- do you have any reason to
14    believe those dates are not correct, that they were
15    all pending prior to the bankruptcy?
16           A.    Do -- do I have any reason?
17           Q.    Yeah, to believe that they were not.
18           A.    I -- I don't have any reason to -- to
19    believe that you're not telling me the truth right
20    now.
21           Q.    Okay.     Okay.      So if, let's say, the Key
22    action was filed in October of 2017, do you know
23    why it wouldn't become an issue for Amazon that
24    would lead it to put it on -- to put Scoobeez on a
25    termination list until June or August of 2019, two

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1     doesn't want a DSP that has multiple litigations
2     relating to employment or wage an hour in the
3     system and why -- why Amazon made that decision.
4     And we talked about the lost opportunity costs from
5     keeping a DSP in the system that is on the
6     termination list.
7                  Do you recall that testimony?
8           A.     Yes.
9           Q.     Okay.     Other than those two areas that we
10    talked about, the lost opportunity costs and the
11    reasons related specifically to the litigations,
12    what other harm is there currently that Amazon is
13    suffering because Scoobeez remains a DSP in the
14    system?
15          A.     Off the top of my head, I can't think of
16    any more.     Both of those are pretty big reasons.
17    But off the top of my head, I can't think of any
18    additional.
19          Q.     Okay.
20                 MS. NASSIRI:         Okay.       Mr. Moses, do you
21    have any questions?
22                 MR. MOSES:        No questions.         Thank you.
23                 MS. FITZPATRICK:            None for me.
24                 MS. NASSIRI:         Okay.       Thank you,
25    Mr. Wilson.

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1                  We have it down on the record, the
2     transcript stuff, but if we can get the rough as
3     soon as possible.
4                  And how long do you need for a final?
5                  THE COURT REPORTER:              Twelve days.
6                  MS. NASSIRI:         Twelve business days?
7                  THE COURT REPORTER:              Ten to 12 business
8     days.
9                  MS. NASSIRI:         Could we get it by Friday,
10    the 7th?     Does that work for you?
11                 MS. FITZPATRICK:            We'd like a rough as
12    well.
13                 THE VIDEOGRAPHER:             Would you like a
14    video?
15                 MS. FITZPATRICK:            Sure.
16                 THE VIDEOGRAPHER:             You want it synced
17    with the depo?
18                 MS. FITZPATRICK:            Sure.
19                 THE VIDEOGRAPHER:             Okay.     Okay.    All
20    done?
21                 MS. NASSIRI:         Yep.
22                 THE VIDEOGRAPHER:             Okay.     We are off the
23    record.     The time is 5:38 p.m.               This concludes
24    today's testimony given by James Wilson.                     The total
25    number of media units used was five and will be

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1     retained by Veritext Legal Solutions.
2                  THE COURT REPORTER:               You want a copy?
3                  MS. FITZPATRICK:             Yes.
4                  (Thereupon, the taking of the deposition
5                  was concluded at 5:39 p.m.)
6
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6                                    * * *
7                        DECLARATION OF DEPONENT
8           I, JAMES WILSON, deponent herein, do hereby
9     declare the within and foregoing transcription to be
10    my deposition in said action under penalty of
11    perjury; that I have read, corrected and do hereby
12    affix my signature to said deposition this ___ day of
13    _______________, 2020.
14
15
16                 ________________________________
17                             JAMES WILSON
18                                Deponent
19
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1                        REPORTER'S DECLARATION
      STATE OF NEVADA)
2     COUNTY OF CLARK)
            I, Lisa Makowski, CCR No. 345, declare as
3     follows:
4           That I reported the taking of the deposition of
5     the witness, JAMES WILSON, commencing on Tuesday,
6     January 28, 2020, at the hour of 10:09 a.m.
7           That prior to being examined, the witness was by
8     me duly sworn to testify to the truth, the whole
9     truth, and nothing but the truth; that, before the
10    proceedings' completion, the reading and signing of
11    the deposition has been requested by the deponent or
12    a party.
13          That I thereafter transcribed said shorthand
14    notes into typewriting and that the typewritten
15    transcript of said deposition is a complete, true and
16    accurate transcription of said shorthand notes taken
17    down at said time.
18          I further declare that I am not a relative or
19    employee of any party involved in said action, nor a
20    person financially interested in the action.
21          Dated at Las Vegas, Nevada this 7th day of
22    February, 2020.
23
24          <%16490,Signature%>
25          Lisa Makowski, CCR 345

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                        Federal Rules of Civil Procedure

                                       Rule 30



         (e) Review By the Witness; Changes.

         (1) Review; Statement of Changes. On request by the

         deponent or a party before the deposition is

         completed, the deponent must be allowed 30 days

         after being notified by the officer that the

         transcript or recording is available in which:

         (A) to review the transcript or recording; and

         (B) if there are changes in form or substance, to

         sign a statement listing the changes and the

         reasons for making them.

         (2) Changes Indicated in the Officer's Certificate.

         The officer must note in the certificate prescribed

         by Rule 30(f)(1) whether a review was requested

         and, if so, must attach any changes the deponent

         makes during the 30-day period.




         DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

         ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

         THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

         2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

         OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

    Veritext Legal Solutions represents that the
    foregoing transcript is a true, correct and complete
    transcript of the colloquies, questions and answers
    as submitted by the court reporter. Veritext Legal
    Solutions further represents that the attached
    exhibits, if any, are true, correct and complete
    documents as submitted by the court reporter and/or
    attorneys in relation to this deposition and that
    the documents were processed in accordance with
    our litigation support and production standards.

    Veritext Legal Solutions is committed to maintaining
    the confidentiality of client and witness information,
    in accordance with the regulations promulgated under
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    health information and the Gramm-Leach-Bliley Act, as
    amended, with respect to Personally Identifiable
    Information (PII). Physical transcripts and exhibits
    are managed under strict facility and personnel access
    controls. Electronic files of documents are stored
    in encrypted form and are transmitted in an encrypted
    fashion to authenticated parties who are permitted to
    access the material. Our data is hosted in a Tier 4
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    Associates indicated on the cover of this document or
    at www.veritext.com.
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                        EXHIBIT 2
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1                         UNITED STATES BANKRUPTCY COURT
2                         CENTRAL DISTRICT OF CALIFORNIA
3                                LOS ANGELES DIVISION
4
       __________________________
5      In re:                                    )     Case No.
6                                                )     2:19-bk-14989-WB
7      SCOOBEEZ, et al                           )     Jointly
8      Debtors and Debtors in                    )     Administered:
9      Possession.                               )     2:19-bk-14991-WB;
10                                               )     2:19-bk-14997-WB
       _____________________________________________
11
12                      30(B)(6) DEPOSITION OF AMAZON
13                                      MICAH McCABE
14                                        10:00 A.M.
15                                  JANUARY 17, 2020
16                                 PERKINS COIE, LLP
17                                 1201 THIRD AVENUE
18                                        SUITE 4900
19                                 SEATTLE, WASHINGTON
20
21     REPORTED BY:
22     JUDY BONICELLI, CSR, RPR, CCR 2322
23     JOB No. 3855212
24
25     PAGES 1 - 204

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1      A P P E A R A N C E S
2
3      FOR THE DEBTOR SCOOBEEZ:
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              Washington, D.C. 20007-5109
6             202.295.4732
              bnelson@foley.com
7
8      FOR THE SECURED CREDITOR
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 9            CRYSTAL NIX-HINES
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1                                        I N D E X
2
3      WITNESS:     MICAH McCABE
       EXAMINATION:                                                         PAGE
4            MS. NIX-HINES:                                                    5
5
6
7     EXHIBIT                    EXHIBIT DESCRIPTION                        PAGE
8     Exhibit 1         Hillair Capital Management, LLC's                      9
9                       Amended Notice of Deposition of Micah
10                      McCabe
      Exhibit 2         Hillair Capital Management LLC's                       9
11                      Notice of 30(b)(6) Deposition of
12                      Amazon Logistics, Inc.
13    Exhibit 3         An email from Stephanie Petrusha to                   61
14                      George Trejo dated March 17, 2019
15    Exhibit 4         Email thread from Trejo to Petrusha                   87
                        re ADP deadlines E000359-361
16    Exhibit 5         June 11, 2019 email regarding List of                 90
17                      Escalations WBR 06-11-2019 V2
18    Exhibit 6         Email stream Petrusha to McCabe                       95
19                      6-18-19 re Weekly compliance and
                        Audit Review E000364 to 370
20    Exhibit 7         Email string from Carlin to McCabe re                122
21                      Station Impact of Exits, dated
                        6-26-19, E000069 to E000070
22    Exhibit 8         Email string from Fahey to Wilson and                130
23                      McCabe re AMXL exit data, dated
                        6-26-19 E000071 to E000072
24    Exhibit 9         July 8, 2019, email from Zach Harvey                 135
25                      to Micah McCabe, Bates No. E000076

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1                              EXHIBITS (Continued)
2
3     Exhibit 10        Email string from Petrusha to McCabe                 143
4                       re Weekly Compliance and Audit
5                       Review, dated 7-10-19, E000373 to 379
6     Exhibit 11        Email from Nehal Desai to McCabe re                  145
7                       Audit Compliance History, dated
8                       7-18-19
9     Exhibit 12        Email string from Norman to McCabe                   154
10                      regarding Scoobeez ADP-API Proposal &
                        SOW, Bates No. E000077
11    Exhibit 13        Email string from Norman to McCabe re                156
12                      Scoobeez/ADP-API Proposal & SOW dated
13                      8-22-19 E000514 to 515
14    Exhibit 14        Email string from McCabe to                          159
15                      Haraldsdottir "Re: DSP Exits, dated
                        9-13-19, Bates No. E000131
16    Exhibit 15        Email from Swanson to McCabe and                     170
17                      others, Bates No. E000516
18    Exhibit 16        Email string from Wilson to Swanson                  184
19                      Re: Need two FAQs, dated 9-30-19
20                      E000702 to E000707
21    Exhibit 17        Email string from Person to Wilson                   185
22                      Re: Need two FAQs, dated 9-30-19
23                      E000708 to E000713
24    Exhibit 18        Email string dated July 8, 2019,                     187
25                      Bates No. H002451 to H002469

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1                  SEATTLE, WASHINGTON; JANUARY 17, 2020
2                                     10:00 A.M.
3                                        --oOo--
4
5                                    MICAH McCABE,
6         sworn as a witness by the Certified Court Reporter,
7                             testified as follows:
8                                     EXAMINATION
9      BY MS. NIX-HINES:
10          Q.    Good morning.
11          A.    Good morning.
12          Q.    I'm Crystal Nix-Hines from Quinn Emanuel, and
13    with me is Frank Dylewski from Quinn Emanuel.                   Just
14    wanted to begin by going over the ground rules.
15                Have you ever been deposed before?
16          A.    No, I have not.
17          Q.    If you don't understand anything that I say,
18    tell me, and I will explain further.                  Will you do that?
19          A.    Yes.
20          Q.    You've just taken an oath to tell the truth
21    and the whole truth to each question I ask.                  It's the
22    same oath you would be given if you were testifying in
23    court.     Do you understand that?
24          A.    I do.
25          Q.    The law expects that witnesses who are

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1     was a senior product manager when I moved there.
2             Q.   And what years were you in that position?
3             A.   I moved there in 2016.             I took that role, and
4     then I was there through 2018.
5             Q.   When did you -- what was your next job after
6     that?
7             A.   After that, I was a senior product manager for
8     what we call brand gap.           It's part of the recruitment
9     and development division.
10            Q.   And what were the years that you were in that
11    position?
12            A.   I was in that role for about 2018 through
13    2000 -- beginning of 2019.
14            Q.   And in either this role or the previous one,
15    did you deal with DSPs at all?
16            A.   No, I did not.
17            Q.   What was your next job after that?
18            A.   That's when I joined the delivery service
19    partner, DSP program in April of 2019.
20            Q.   What is your title?
21            A.   I'm a senior program manager of network
22    health.
23            Q.   And what are your specific responsibilities in
24    this job?
25            A.   I own the exit process.

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1           Q.   And what does that mean?
2           A.   When it's been decided that a DSP will exit
3     the network, I work with the DSP and the partner teams
4     to help on the transition.
5           Q.   Do you deal with any DSP issues prior to the
6     decision that they will be marked for termination?
7           A.   I am part of the process of gathering the
8     information prior to the determination.
9           Q.   And when you say "you own the process," does
10    that mean you're the supervisor of the whole process?
11          A.   I report into a manager who I believe has
12    ultimate oversight, but I am the point person or the
13    program manager that all of our partner teams would --
14          Q.   And who do you report to?
15          A.   Jimmy Wilson.
16          Q.   Are there any other categories of DSPs that
17    fall within the scope of your responsibilities other
18    than the ones that are marked for termination or are
19    being considered for termination?
20          A.   Yes.     There is a -- we own a process where if
21    the DSP is in breach of a contract, my team owns
22    sending the notification.
23          Q.   So just to clarify, you have no involvement in
24    the selection of companies to become DSPs at Amazon?
25          A.   That is correct, I do not.

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1           Q.   No involvement in the routes DSPs are given?
2           A.   That is correct, I do not.
3           Q.   No involvement in the policies DSPs are
4     expected to follow, such as use of vehicles or
5     timekeeping cards or other business functions?
6           A.   That is correct, I do not.
7           Q.   So your sole role, broadly speaking, is to
8     address DSPs who may be considered for termination and
9     then to implement the process of termination?
10                        MR. DIAMANTATOS:            Object to form.
11                        THE WITNESS:         Yes.        I wouldn't say it's
12    my sole, but yes, that is the process of -- the main
13    process of what I can cover.
14     BY MS. NIX-HINES:
15          Q.   Other than the functions that you've already
16    told us about, are there any other responsibilities
17    that you have that you have not yet mentioned?
18          A.   Yes.     My team also are -- it's coming through
19    me, but handles ownership transfer.                    If a DSP decides
20    that they want to sell their business, that would
21    eventually flow through to my team.
22          Q.   And what would you do in that capacity of
23    ownership transfer?
24          A.   If a request comes for ownership transfer,
25    part of the process is to vet the new owner.

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1                Going back to your earlier question, I don't
2     own the onboarding or vetting process, but it's the
3     connection of teams to make sure they get passed along
4     to that team to have them vet the candidate.
5           Q.   Did Scoobeez come to your attention in that
6     regard?
7           A.   No, they did not.
8           Q.   And you mentioned that you gathered
9     information on terminating DSPs.                 What kind of
10    information do you gather?
11          A.   We'll look at compliance history.               We'll
12    gather information regarding number of drivers they
13    have, vehicles they may have leased through the
14    program, what stations they're in, are a few examples.
15          Q.   Are all those factors relevant to your
16    decision as to whether to terminate DSPs?
17                        MR. DIAMANTATOS:            Objection to form.
18                 Go ahead.
19                        THE WITNESS:         No.     The facts are
20    that those data points are not how many drivers they
21    have or how many vans they have are not in
22    consideration for why they would exit.                 Information
23    like compliance history, if there is a -- if they have
24    not been compliant with the program policy, part of the
25    program agreement, that may have had influence on the

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1     decision.
2      BY MS. NIX-HINES:
3             Q.   What kind of factors go into whether they've
4     complied or not?        Complied with what, specifically?
5             A.   So I'll step back and first say, I'm not on
6     the compliance team.          So there is a team that looks at
7     the compliance -- the DSPs' compliance with our program
8     policies and program agreements.                 And so it's their, I
9     guess you could say, charter to identify where DSPs are
10    not following.       They will -- they would loop my team in
11    for an escalation for DSPs who are not -- that they
12    have identified as not being compliant.
13            Q.   And who runs that compliance team?
14            A.   Carey Richardson was the director.
15            Q.   You say "was."       Is she still?
16            A.   Yes, thank you.        She's retiring, and Dina --
17    and I don't remember Dina's last name -- is taking
18    over.
19            Q.   Dina hasn't started yet?
20            A.   They're in a transition.
21            Q.   Do you have an understanding of what this
22    dispute is about?
23            A.   I would say a basic understanding.
24            Q.   What is your understanding?
25            A.   That Scoobeez believes that we are terminating

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1           A.   Yes, it can be.
2           Q.   And is that something you did personally?
3           A.   I did deliver the news to Scoobeez, yes.
4           Q.   And how was that information communicated?
5           A.   It was a phone call.
6           Q.   Do you recall when that phone call occurred?
7           A.   It was -- I believe it's October 1st, a
8     Monday, and it was at 3:00 p.m., my time, I believe.
9           Q.   October 1st, 2019?
10          A.   Yes.
11          Q.   And do you recall with whom you spoke?
12          A.   I do not recall the exact names of the people
13    on the phone.
14          Q.   Do you recall what you communicated
15    specifically to Scoobeez?
16          A.   I do recall the conversation.
17          Q.   What did you tell them?
18          A.   I told them that we were -- that Amazon had --
19    was terminating the business relationship.                 I provided
20    the two reasons which I had stated earlier as far as
21    indemnification of Amazon through the litigation, and
22    then the second reason being the business model was not
23    consistent with the DSP program, a 2.0 program.
24               I communicated that -- the separation
25    agreement that we were proposing, the amount of money

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1     lawsuits that we had identified as part of the analysis
2     or were provided to me.
3           Q.   And that that was one of the two reasons that
4     you gave to Scoobeez as part of why they were being
5     marked for termination?
6                         MR. DIAMANTATOS:            Objection.
7     Mischaracterizes his testimony.
8                         THE WITNESS:         The point of the
9     litigation were identified as a reason for leading back
10    to that -- that reason.
11     BY MS. NIX-HINES:
12          Q.   For termination?
13          A.   Yes, to terminate the relationship.
14          Q.   And was it the mere number of lawsuits that
15    led to that determination?
16          A.   Yes.     The analysis was to look at the number
17    of litigation cases that DSP had.
18          Q.   Was any analysis done as to whether those
19    lawsuits had merit?
20          A.   No.     The analysis was to look at the number of
21    litigation cases the DSP had.
22          Q.   Was any determination made as to the outcome
23    of those lawsuits?
24          A.   No.     The analysis was just to look at the
25    number of litigation cases against the DSP.

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1
2            Q.   Going back to Scoobeez for a moment, you
3     testified earlier that you, in fact, notified the owner
4     of Scoobeez in October of 2019 that they were -- had
5     been -- that they were going to be terminated; is that
6     correct?
7            A.   That is correct.
8            Q.   But as we sit here now, Scoobeez is still
9     working for Amazon as a delivery service provider; is
10    that right?
11           A.   That is correct.          They continue to run routes
12    today.
13           Q.   Have you -- with respect to Scoobeez
14    specifically, have you seen any consequences to Amazon,
15    any harms caused by the fact that Scoobeez is still a
16    DSP?
17           A.   I would say I have not monitored their metrics
18    or their performance to see how they are performing.
19    When it comes to harm from the continued relationship,
20    I would point to the time and money being invested into
21    this process as a result of the ongoing litigation in
22    the bankruptcy and the filings.                 The other thing I
23    would highlight is the hindrance just to business
24    planning of an unknown, the timeline.
25           Q.   What kind of hindrance?

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1                         MR. DIAMANTATOS:            Objection.    Asked and
2     answered.
3                         THE WITNESS:         When we're planning
4     capacity, when we're planning, let's say, the
5     backfilling right now.           When we're looking to exit a
6     DSP, you know that we don't have -- there is still a
7     big question mark around the timing of when everything
8     is going to be -- when things are going to happen now,
9     which is continuing to drag out.
10     BY MS. NIX-HINES:
11          Q.    And what would additional certainty about a
12    date certain, how would that impact the company?
13                        MR. DIAMANTATOS:            Objection.
14    Foundation.
15                        THE WITNESS:         The lack of there being
16    vagueness around the timeline allows DSPs, the
17    business, to plan for, let's say, peak, for example.
18    As we're ramping a station, the capacity team needs to
19    be aware of who is going to be in the station, who are
20    going to be good business partners.                  So I would
21    imagine, although I'm not part of the capacity process,
22    having certainty around whether a DSP is going to be
23    continuing to operate the route through the peak cycle
24    is an important part of their decision-making process.
25

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1      BY MS. NIX-HINES:
2           Q.   And those issues are true for all DSPs that
3     are marked for termination, correct?
4           A.   I would say those issues are true for all
5     where we have communicated -- where we've communicated
6     to the owner but are unable to move forward post that
7     notification.
8           Q.   So that concern would apply not only to
9     Scoobeez but to other DSPs in that category?
10          A.   I would say yes, with a caveat that the
11    negotiation period for exits does not usually drag on
12    this long.
13          Q.   Well, you had stated earlier that sometimes
14    there is a delay as long as six months between
15    notification and exit; is that correct?
16          A.   Yes, I have seen that before.
17          Q.   And Scoobeez was notified on October 29, and
18    it's only the middle of January.                 So that's only three
19    months, right?
20          A.   Yes, but with an exit there is still, I'm
21    assuming, one would apply.             So there is an additional
22    60 days already on top of this.                 So we would be
23    approaching the six-month period.
24          Q.   What additional 60 days?
25          A.   The WARN Act.         I'm assuming that Scoobeez

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1     was -- with the exit that Scoobeez will probably
2     terminate some of their drivers.                 Under federal law and
3     some state laws they may have to file necessary
4     paperwork.
5           Q.    And the consequences that you mentioned of the
6     uncertainty and all that, if Amazon had agreed not to
7     terminate Scoobeez, those concerns would go away; is
8     that correct?
9           A.    No, I disagree.         We would still be in partner
10    with a DSP that has a history of litigation.
11    Litigation, when Amazon is brought into it, costs
12    money.     It costs time for attention for employees to
13    address it, and then there is also a PR risk associated
14    with the litigation related to DSPs.
15          Q.    What PR risk is that?
16          A.    I would point to a Buzz Feed article that came
17    out several months ago associated with DSPs that have
18    poor DA practice -- pay practices, and there was
19    accidents that were resulting from their -- those
20    drivers.     Those are DSPs that we may or may not choose
21    to be in relationship with because of how they're --
22    because of their litigation history.
23          Q.    Is Scoobeez mentioned in that Buzz Feed
24    article?
25          A.    I don't recall specifically who was mentioned.

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1                          MS. NIX-HINES:           Let me turn to my
2     colleague, see if you have any additional questions
3     you'd like to ask.
4                  All right, thank you for your time.
5                          THE WITNESS:          Thank you.
6                          (Signature waived.)
7                          (Deposition concluded at 4:44 p.m.)
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1                        REPORTER'S CERTIFICATE
2
3              I, JUDY BONICELLI, the undersigned Certified
4     Court Reporter, pursuant to RCW 5.28.010 authorized to
5     administer oaths and affirmations in and for the State
6     of Washington, do hereby certify:
7              That the sworn testimony and/or proceedings, a
8     transcript of which is attached, was given before me at
9     the time and place stated therein; that any and/or all
10    witness(es) were duly sworn to testify to the truth;
11    that the sworn testimony and/or proceedings were by me
12    stenographically recorded and transcribed under my
13    supervision, to the best of my ability; that the
14    foregoing transcript contains a full, true, and
15    accurate record of all the sworn testimony and/or
16    proceedings given and occurring at the time and place
17    stated in the transcript; that I am in no way related
18    to any party to the matter, nor to any counsel, nor do
19    I have any financial interest in the event of the
20    cause.
21             WITNESS MY HAND and DIGITAL SIGNATURE this
22    29th day of January, 2020.
23
               <%19854,Signature%>
24             JUDY BONICELLI, RPR, CCR
25             Washington Certified Court Reporter, CCR 2322

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                        Federal Rules of Civil Procedure

                                       Rule 30



         (e) Review By the Witness; Changes.

         (1) Review; Statement of Changes. On request by the

         deponent or a party before the deposition is

         completed, the deponent must be allowed 30 days

         after being notified by the officer that the

         transcript or recording is available in which:

         (A) to review the transcript or recording; and

         (B) if there are changes in form or substance, to

         sign a statement listing the changes and the

         reasons for making them.

         (2) Changes Indicated in the Officer's Certificate.

         The officer must note in the certificate prescribed

         by Rule 30(f)(1) whether a review was requested

         and, if so, must attach any changes the deponent

         makes during the 30-day period.




         DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

         ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

         THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

         2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

         OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

    Veritext Legal Solutions represents that the
    foregoing transcript is a true, correct and complete
    transcript of the colloquies, questions and answers
    as submitted by the court reporter. Veritext Legal
    Solutions further represents that the attached
    exhibits, if any, are true, correct and complete
    documents as submitted by the court reporter and/or
    attorneys in relation to this deposition and that
    the documents were processed in accordance with
    our litigation support and production standards.

    Veritext Legal Solutions is committed to maintaining
    the confidentiality of client and witness information,
    in accordance with the regulations promulgated under
    the Health Insurance Portability and Accountability
    Act (HIPAA), as amended with respect to protected
    health information and the Gramm-Leach-Bliley Act, as
    amended, with respect to Personally Identifiable
    Information (PII). Physical transcripts and exhibits
    are managed under strict facility and personnel access
    controls. Electronic files of documents are stored
    in encrypted form and are transmitted in an encrypted
    fashion to authenticated parties who are permitted to
    access the material. Our data is hosted in a Tier 4
    SSAE 16 certified facility.

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    State regulations with respect to the provision of
    court reporting services, and maintains its neutrality
    and independence regardless of relationship or the
    financial outcome of any litigation. Veritext requires
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    standards from all of its subcontractors in their
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                        EXHIBIT 3
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                                                                            Page 1
                            UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                  LOS ANGELES DIVISION


           In re:
                SCOOBEEZ, et al.,
                        Debtors and Debtors
                        in Possession.


                                                     No. 2:19-bk-14989-WB
                                                     Jointly Administered:
                                                     2:19-bk-14991-WB, and
                                                     2:19-bk-14997-WB
           Affects:
           All Debtors




                        VIDEOTAPED DEPOSITION OF SCOTT KAUFMAN
                                      30(B)(6) WITNESS



                             Stenographically Reported by
                ANGELA SINCLAIR, CCRR, CRR, RPR, CSR No. 13902
                                     January 22, 2020


                                   Magna Legal Services
                                         866-624-6221
                                      www.MagnaLS.com
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      8                              E X H I B I T S
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     11                     (HILLAIR237-239)
     12    Exhibit 2        Morgan Consulting Management                    73
                            Review Report
     13                     (HILLAIR1897-1900)
     14    Exhibit 3        Overview of ABT Holdings                        75
                            Investment (ABOT)
     15                     (HILLAIR1906-1921)
     16    Exhibit 4        Declaration of Scott Kaufman                    96
     17    Exhibit 5        E-mail exchange                                102
                            (HILLAIR149)
     18
           Exhibit 6        Letter from Imran Firoz to                     181
     19                     the board of directors of
                            ABT Holdings
     20                     (HILLAIR584-615)
     21    Exhibit 7        E-mail exchange                                197
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           Exhibit 8        Limited waiver dated                           226
     23                     September 29, 2017
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           Exhibit 13       Restructuring agreement                        288
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      7    Exhibit 14       Scoobeez meeting notes dated                   315
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      9    Exhibit 15       E-mail exchange                                341
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           Exhibit 16       Adequate assurance package                     354
     11                     dated October 11, 2019
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                                                                           Page 4
      1                       DEPOSITION OF SCOTT KAUFMAN
      2
      3             BE IT REMEMBERED, that pursuant to Notice, and
      4    on the 22nd day of January 2020, commencing at the hour
      5    of 9:00 a.m., in the offices of Morgan Lewis & Bockius,
      6    Spear Street Tower, One Market Street, Suite 2800, San
      7    Francisco, California, before me, ANGELA SINCLAIR, a
      8    Certified Shorthand Reporter, personally appeared
      9    SCOTT KAUFMAN, produced as a witness in said action, and
     10    being by me first duly sworn, was thereupon examined as
     11    a witness in said cause.
     12
     13                                 ---o0o---
     14
     15    APPEARANCES:
     16    For the Plaintiff SCOOBEEZ, INC.:
     17                  SHANE MOSES
                         FOLEY & LARDNER LLP
     18                  555 California Street, Suite 1700
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     19                  (415) 434-4484
                         smoses@foley.com
     20
           For the Creditor HILLAIR CAPITAL MANAGEMENT, LLC:
     21
                             CRYSTAL NIX-HINES and
     22                      JENNIFER NASSIRI
                             QUINN EMANUEL
     23                      865 Figueroa Street, 10th Floor
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                                                                           Page 5
      1    For AMAZON LOGISTICS, INC.:
      2                      A. KLAIR FITZPATRICK
                             MORGAN, LEWIS & BOCKIUS, LLP
      3                      1701 Market Street
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      4                      (215) 963-4935
                             klair.fitzpatrick@morganlewis.com
      5
           Also Present:
      6
                             Austin Duncan, Videographer
      7
      8
      9
     10
     11
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                                                                           Page 6
      1                 THE VIDEOGRAPHER:     We are now on record.         This

      2    begins Videotape Number 1 in the deposition of

      3    Scott Kaufman in the matter of In Re Scoobeez, et al.,

      4    debtor.      Today's date is January 22nd, 2020, and the

      5    time is approximately 9:01 a.m.           This deposition is

      6    being taken at One Market Street, San Francisco,

      7    California 94105 at the request of Morgan, Lewis &

      8    Bockius, LLP.

      9                 The videographer is Austin Duncan of Magna

     10    Legal Services; the court reporter is Angela Sinclair of

     11    Magna Legal Services.

     12                 Would counsel and all parties present please

     13    state their appearances and whom they represent.

     14                 MS. FITZPATRICK:     Sure.    Klair Fitzpatrick on

     15    behalf of Amazon.

     16                 MS. NIX-HINES:    Crystal Nix-Hines from

     17    Quinn Emanuel on behalf of Hillair.

     18                 MS. NASSIRI:    Jennifer Nassiri, Quinn Emanuel,

     19    on behalf of Hillair.

     20                 MR. MOSES:   Shane Moses, Foley & Lardner, on

     21    behalf of Scoobeez.

     22                 THE VIDEOGRAPHER:     And would the court reporter

     23    swear in the witness.

     24                 (Oath administered by the reporter.)

     25                 THE WITNESS:    I do.
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                                                                           Page 7
      1                               SCOTT KAUFMAN,

      2                           affirmed as a witness,

      3                            testified as follows:

      4    EXAMINATION BY MS. FITZPATRICK:

      5          Q.     Great.    Thank you, Mr. Kaufman, for being here

      6    today.     We met briefly off the record.         As I mentioned,

      7    my name is Klair Fitzpatrick.          I'm here representing

      8    Amazon, and I appreciate your time today.

      9                 So have you ever been deposed before?

     10          A.     I have.

     11          Q.     Okay.    So I know you're familiar with it then,

     12    but I'm still going to go through some preliminary

     13    introductions just as a reminder.

     14                 The court reporter will be transcribing the

     15    deposition and can only record one person at a time.                   So

     16    to make things easier, it's best if we don't interrupt

     17    you and you let me finish a question before you respond.

     18                 Does that make sense?

     19          A.     It does.

     20          Q.     Okay.    You have to respond verbally rather than

     21    head nods or gestures because the court reporter cannot

     22    record those things, so please respond with a yes or no

     23    or whatever the answer calls for.

     24          A.     Okay.

     25          Q.     If you don't understand a question or you don't
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                                                                           Page 237
      1          A.     Yeah.   I think it's accurate, correct.

      2          Q.     Okay.   And do you know if this deal that's

      3    summarized here came to fruition?

      4          A.     To my recollection, this was never consummated.

      5          Q.     Okay.

      6          A.     It was never signed.

      7          Q.     Why not?

      8          A.     I don't think Shahan ever signed it.

      9          Q.     Did they make the payments, though?

     10          A.     They did make the payments.

     11          Q.     In April of 2018 did you suggest that Hillair

     12    prepare a default notice?

     13                 MS. NIX-HINES:    Objection as to form.

     14                 THE WITNESS:    I did.

     15    BY MS. FITZPATRICK:

     16          Q.     Why?

     17          A.     Well, I think that with the deal terms not

     18    being lived up to, that we should have dropped a default

     19    notice in.      But seemingly Shahan -- so that's why.

     20          Q.     Okay.   And did you do that in 2018?

     21          A.     I don't recall if it was ever drafted or not.

     22          Q.     Did you file a default notice?

     23          A.     We did not.

     24          Q.     Why not?

     25          A.     The company started making these payments --
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                                                                           Page 300
      1    functioning at a very high level, that the last thing

      2    that we wanted to do was disrupt this apple cart.                 We

      3    feel that the company needed some parental guidance over

      4    George and Scott at this point, but the last thing we

      5    wanted to -- and that's what we represented to Amazon

      6    is, is that we feel it's functioning very well which is

      7    indicative of the only metric that we had, were the

      8    report cards coming back from Amazon which were in an

      9    upward trend historically.

     10                 So --

     11          Q.     In 2019?

     12          A.     In 2019; right?     Since the company went into

     13    bankruptcy.      For lack of better words, the

     14    transgressions of the past have been stopped that we

     15    didn't know about.       Now that we've known about them,

     16    they've been fixed; they've been stopped.             The company

     17    has tremendous reporting standards to the government, to

     18    the bankruptcy courts.        And it's performed very well for

     19    Amazon.

     20                 We actually -- personally I have gone and I've

     21    shaken the hands of a significant amount of the drivers

     22    and met the dispatchers and have watched the comradery

     23    amongst these thousand, roughly 800,000 employees grow

     24    and the pride for the company.

     25                 And so our comment to Amazon is we don't really
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                                                                           Page 352
      1    that's how I led the conversation which was maybe a two-

      2    or three-minute introduction.          And then the people at

      3    Amazon said, look, we're not interested in having that

      4    conversation.        We're just letting you know that it's

      5    being terminated.       They were not interested in hearing

      6    or trying to work with us to find -- they just wanted to

      7    let us know that it didn't matter what we said.                 Nothing

      8    we could say would change their mind.

      9          Q.     Got it.

     10          A.     Which was -- so that's why the call was so

     11    short.

     12          Q.     Got it.

     13          A.     And they said that.      They told us that they

     14    were going to -- they said they were going to take all

     15    of your employees and put them into a different company

     16    and for that we pay you a million dollars.

     17          Q.     They said they were going to take your

     18    employees?

     19          A.     Yeah.   They said --

     20          Q.     How did they say they were going to take the

     21    employees?

     22          A.     They said they are going -- I think they -- I

     23    forget the exact word they use.

     24          Q.     Did they offer to have a job fair?

     25          A.     No, no, no.    They just said they were going to
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                                                                           Page 376
      1                 THE REPORTER:     And Counsel, Mr. Moses?
      2                 MR. MOSES:    Yes.
      3                 THE REPORTER:     Okay.
      4                 THE VIDEOGRAPHER:      It is approximately
      5    5:40 p.m.      We are off the record.
      6                 (The deposition concluded at 5:40 p.m.)
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                                                                           Page 377
      1                  DECLARATION UNDER PENALTY OF PERJURY
      2
      3                 I, SCOTT KAUFMAN, do hereby certify under
      4    penalty of perjury that I have read the foregoing
      5    transcript of my deposition taken on January 22, 2020;
      6    that I have made such corrections, if any, as appear
      7    noted on the Deposition Errata Page signed by me; that
      8    my testimony as contained herein, or as corrected, is
      9    true and correct.
     10
     11                 Dated this ______ day of ___________________,
     12    2020, at __________________________________________,
     13    California.
     14
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      1                          DEPOSITION ERRATA SHEET
      2
      3    Page No.________ Line No. _____
      4    Change:_______________________________________________
      5    Reason for change:____________________________________
      6    Page No.________ Line No. _____
      7    Change:_______________________________________________
      8    Reason for change:____________________________________
      9    Page No.________ Line No. _____
     10    Change:_______________________________________________
     11    Reason for change:____________________________________
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     16    Change:_______________________________________________
     17    Reason for change:____________________________________
     18    Page No.________ Line No. _____
     19    Change:_______________________________________________
     20    Reason for change:____________________________________
     21    Page No.________ Line No. _____
     22    Change:_______________________________________________
     23    Reason for change:____________________________________
     24    ______________________________           ___________________
     25    SCOTT KAUFMAN                            Dated
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      1                         REPORTER'S CERTIFICATE
      2
      3             I, ANGELA SINCLAIR, a Stenographic Certified
           Shorthand Reporter, holding a valid and current license
      4    issued by the State of California, duly authorized to
           administer oaths, do hereby certify:
      5
                    That SCOTT KAUFMAN, in the foregoing deposition
      6    named, was present and by me sworn as a witness in the
           above-entitled action at the time and place therein
      7    specified.
      8             That said deposition was taken before me at
           said time and place, and was taken down in shorthand by
      9    me and was thereafter transcribed into typewriting, and
           that the foregoing transcript constitutes a full, true
     10    and correct report of said deposition and of the
           proceedings that took place.
     11
                    The dismantling, unsealing, or unbinding of the
     12    original transcript will render the Reporter's
           Certificate null and void.
     13
                    Should the signature of the witness not be
     14    affixed to the deposition, the witness shall not have
           availed himself/herself of the opportunity to sign or
     15    the signature has been waived.
     16             I further certify that I am neither counsel for
           nor related to any party in the foregoing deposition and
     17    caption named nor in any way interested in the outcome
           thereof.
     18
                    That before completion of the proceedings,
     19    review of the transcript was requested pursuant to
           Federal Rule 30(e).
     20
                    IN WITNESS WHEREOF, I have hereunder subscribed
     21    my hand this 31st day of January 2020.
     22
     23
                                   _______________________________
     24                            ANGELA SINCLAIR, CCRR, CRR, RPR,
                                   CSR 13902
     25                            State of California
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                        EXHIBIT 4
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1                  UNITED STATES BANKRUPTCY COURT
                   CENTRAL DISTRICT OF CALIFORNIA
2                       LOS ANGELES DIVISION
3     IN RE:                     §
                                 §
4     SCOOBEEZ, ET ALr           § CASE NO. 2:19-BK-14989-WB
      DEBTORS AND                §
5     DEBTORS IN POSSESSION      § JOINTLY ADMINISTERED:
                                 § 2:19-BK-14991-WB
 6                               § 2:19-BK-14997-WB
 7
 8
 9
10
                        ORAL AND VIDEOTAPED DEPOSITION OF
11                                 DAVID OJEDA
                               FEBRUARY 13, 2020
12
13
14
15         ORAL AND VIDEOTAPED DEPOSITION OF DAVID OJEDA,
      produced as a witness at the instance of the Secured
16    Creditor and duly sworn, was taken in the above
      styled and numbered cause on Thursday, February 13,
17    2020, from 9:09 a.m. to 1:02 p.m., before TAMARA
      CHAPMAN, CSR, CRR, RPR in and for the State of
18    Texas, reported by computerized stenotype machine,
      at the offices of Bracewell, LLP, 111 Congress
19    Avenue, Austin, Texas, pursuant to the Federal Rules
      of Civil Procedure and any provisions stated on the
20    record herein.
21
22
23
24
25     Job No. 3980828

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1                                  A P P E A R A N C E S
2
      FOR HILLAIR CAPITAL MANAGEMENT, LLC:
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          ericwinston@quinnemanuel.com
6
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8         MORGAN LEWIS & BOCKIUS
          77 West Wacker Drive
9         Chicago, Illinois 60601
          312-324-1145
10        tinos.diamantatos@morganlewis.com
11        -and-
12        Brett A. Janich
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15
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          Phone 202-672-5300
19        bnelson@foley.com
20
21     ALSO PRESENT:
           Peter Zierline, Videographer
22
23
24
25

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1                                    I N D E X
2
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3
4      APPEARANCES..................................                       2
5          DAVID OJEDA
6      EXAMINATION
           By Mr. Winston............................                          6
7
8      CORRECTION PAGE..............................                   181
       SIGNATURE PAGE...............................                   182
 9     REPORTER'S CERTIFICATION.....................                   183
10
                                 E X H I B I T S
11
                                                                PAGE LINE
12     Exhibit 1,                                                 8   25
       Notice of Deposition
13     (No Bates - 3 pages)
       Exhibit 2,                                                67    20
14     DSP Delivery Excellence Performance                 -
       SCBZ at DAU1 - Week 32 - 2019
15     (AMAZON_H000191 - AMAZON_H000197)
       Exhibit 3,                                                70    19
16     DSP Delivery Excellence Performance                 -
       SCBZ at DAU1 - Week 49 - 2019
17     (AMAZON_H000322 - AMAZON_H000329)
       Exhibit 4,                                                72    14
18     DSP Delivery Excellence Performance                 -
       SCBZ at DDA1 - Week 38 - 2019
19     (AMAZON_H000867 - AMAZON_H000873)
       Exhibit 5,                                                75    9
20     DSP Delivery Excellence Performance                 -
       SCBZ at DDA1 - Week 47 - 2019
21     (AMAZON_H000930 - AMAZON_H000936)
       Exhibit 6,                                                78    15
22     DSP Scorecard - SCBZ at DDA2 - Week                 27
       - 2019
23     (AMAZON_H000953 - AMAZON_H000956)
       Exhibit 7,                                                81    2
24     DSP Delivery Excellence Performance                 -
       SCBZ at DDA2 - Week 47 - 2019
25     (AMAZON_H001092 - AMAZON_H001099)

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1                   E X H I B I T S (Continued)
2      Exhibit 8,                                             81     25
       DSP Scorecard - SCBZ at DDA3 - Week 30
3      - 2019
       (AMAZON_H001134 - AMAZON_H001137)
4      Exhibit 9,                                             83     9
       DSP Delivery Excellence Performance -
5      SCBZ at DDA3 - Week 49 - 2019
       (AMAZON_H001276 - AMAZON_H001283)
6      Exhibit 10,                                           150     24
       4/10/17 email from Shahan Ohanessian
7      to various recipients, Subject "Re:
       New Work Order"
8      (SCOOBEEZ-0000588 - SCOOBEEZ-0000589)
       Exhibit 11,                                           153     8
9      1/15/19 email from Shahan Ohanessian
       to David Ojeda, Subject "Payments -
10     Important"
       (SCOOBEEZ-0001564)
11     Exhibit 12,                                           155     15
       2/28/19 email from Shahan Ohanessian
12     to Kerry Person and David Ojeda,
       Subject "Re: Discussion"
13     (SCOOBEEZ-0001583 - SCOOBEEZ-0001584)
       Exhibit 13,                                           165     11
14     9/30/19 email from David Ojeda to
       various recipients, Subject "Week 39
15     Austin - Houston Review"
       (AMAZON_E000522 - AMAZON_E000525)
16     Exhibit 14,                                           168     15
       10/4/19 email from David Ojeda to Eric
17     Swanson and Jimmy Wilson, Subject "RE:
       SCBZ History"
18     (AMAZON_E000126)
19
                         PREVIOUSLY MARKED EXHIBITS
20
                                                             PAGE LINE
21     Exhibit 62                                            130    22
22
23
24
25

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1                           THE VIDEOGRAPHER:              Good morning.

2          We're on the record at 9:09 a.m. on February 13,

3          2020.     This is Media Unit No. 1 of the recorded

4          deposition of David Ojeda, in the matter of In

5          re:     Scoobeez, filed in the United States                     09:09

6          Bankruptcy Court, Central District of California,

7          Los Angeles Division.        The case number is

8          2:19-bk-14989-WB.

9                           This deposition is being held at

10         Bracewell, LLP located at 111 Congress in Austin,                09:10

11         Texas.     My name is Peter Zierline, here with our

12         stenographer, Tamara Chapman, and we are with

13         Veritext.

14                          Will counsel please identify

15         themselves for the record, after which the                       09:10

16         stenographer will swear in the witness.

17                          MR. WINSTON:        Eric Winston of

18         Quinn Emanuel Urquhart & Sullivan for secured

19         creditor, Hillair Capital Management.

20                          MR. DIAMANTATOS:          Tinos                 09:10

21         Diamantatos of Morgan Lewis on behalf of Amazon.

22                          MR. JANICH:        Brett Janich, Morgan

23         Lewis & Bockius, on behalf of Amazon.

24                          MR. WINSTON:        Would you swear in

25         the witness.                                                     09:10

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1                               DAVID OJEDA,

2         having been first duly sworn, testified as follows:

3                                EXAMINATION

4         BY MR. WINSTON:

5                  Q.   Good morning, Mr. Ojeda.                              09:10

6                  A.   Good morning.

7                  Q.   Thank you for being here today.           I'm sure

8         it's not the most fun way to spend a Thursday

9         morning, but we'll try to be efficient.

10                      My name is Eric Winston.           I'm with the law   09:11

11        firm of Quinn Emanuel.        We represent Hillair Capital

12        Management in the Scoobeez bankruptcy case.

13                      Before we get started, have you ever been

14        deposed before?

15                 A.   Yes, once.                                            09:11

16                 Q.   Once.   How long ago?

17                 A.   About nine years.

18                 Q.   Nine years.     Okay.   So it's been a little

19        while?

20                 A.   Yes.

21                 Q.   So let me go over some ground rules, just

22        so that we move this along efficiently.

23                 A.   Sure.

24                 Q.   You've just been placed under oath, and

25        that's the same type of oath you would take as if you               09:11

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1                 A.    Correct.

2                 Q.    A scorecard will come out measuring that

3         Sunday to Saturday?

4                 A.    Correct.

5                 Q.    How -- how long after the week ends does              10:31

6         that week's scorecard come out?

7                 A.    A few days.

8                 Q.    Okay.     So if -- And it measures the entire

9         weekly performance.        Correct?

10                A.    Correct.                                              10:31

11                Q.    Do you know how the information that is

12        used in the scorecard gets into the scorecard?             And

13        I'll give you an example if I can.             Presumably it

14        measures something about how many packages you

15        delivered?                                                          10:32

16                A.    Uh-huh.

17                Q.    How would anyone know that when they're

18        preparing the scorecard?

19                A.    So there is internal databases that have

20        information that house the information that's being                 10:32

21        scored and that's how it's ingested.

22                Q.    Okay.     Do you have any -- any direct

23        involvement in the inputting of that internal data?

24                A.    No.

25                Q.    Okay.     Do you oversee people that handle           10:32

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1         Performance Program, which will include," and it has

2         three bullet points under that.

3                 A.    Okay.

4                 Q.    Do you see that?

5                 A.    Yes.                                                 10:37

6                 Q.    Did Amazon launch that program?

7                 A.    Yes.

8                 Q.    Do you -- what was that program?         What

9         was -- what was the purpose of it?

10                         MR. DIAMANTATOS:         Objection;               10:37

11        foundation.

12                A.    The purpose was a -- an updated version of

13        the scorecard that measured a broader spectrum of

14        the -- of the execution of a DSP.

15                Q.    Do you know whether Scoobeez registered              10:37

16        for that program?

17                A.    I do not know.

18                Q.    Okay.     You can put this one aside.

19                         (Exhibit 3 was marked.)

20                Q.    Mark that Exhibit 3.                                 10:37

21                A.    Thank you.

22                Q.    Exhibit 3 is a document Bates-stamped

23        AMAZON_H000322 to 329.

24                A.    Uh-huh.

25                Q.    It is titled, "DSP Delivery Excellence               10:38

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1                  Q.   Mr. Ojeda, do you recall receiving these

2         two emails?

3                  A.   I do.   But can I correct something?

4                  Q.   Sure.

5                  A.   On this -- I guess -- I don't know why,            12:30

6         but you went from '17 to '19 or -- and then I guess

7         the director at this time was Eric Swanson, not

8         Penny.    I think I said -- you asked Brittany.       I said

9         Penny, but it's -- it was Eric.

10                 Q.   So you're looking at Exhibit 11.      Is that      12:30

11        right?

12                 A.   I'm looking at Exhibit 11 and I'm --

13                 Q.   So --

14                 A.   What I had stated before, that Penny was a

15        director, a correction is that Eric Swanson was the              12:30

16        director at that time.

17                 Q.   Okay.   Thank you for that correction.

18                      All right.   Do you recall receiving these

19        two emails?

20                 A.   Yes.                                               12:30

21                 Q.   All right.   And on October -- sorry, not

22        October -- February 4th, 2019, do you understand

23        shahan@scoobeez.com means Mr. Ohanessian?

24                 A.   Yes.

25                 Q.   All right.   Mr. Ohanessian is writing to          12:31

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1                                 SIGNATURE PAGE
2
            I, DAVID OJEDA, have read the foregoing
3     deposition and hereby affix my signature that same
      is true and correct, except as noted on the
4     correction page.
5
6                                       ____________________________
                                       DAVID OJEDA
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1                       UNITED STATES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA
2                             LOS ANGELES DIVISION
3     IN RE:                                §
                                            §
4     SCOOBEEZ, ET AL.,                     §    CASE NO. 2:19-BK-14989-WB
                                            §
5                                           §    JOINTLY ADMINISTERED:
      DEBTORS AND                           §    2:19-BK-14991-WB
6     DEBTORS IN POSSESSION                 §    2:19-BK-14997-WB
7                          REPORTER'S CERTIFICATION
                           DEPOSITION OF DAVID OJEDA
8                          TAKEN FEBRUARY 13, 2020
9           I, TAMARA CHAPMAN, Certified Shorthand Reporter
10    in and for the State of Texas, hereby certify to the
11    following:
12          That the witness, DAVID OJEDA, was duly sworn
13    by the officer and that the transcript of the oral
14    deposition is a true record of the testimony given
15    by the witness;
16          That the original deposition was delivered to
17    ERIC WINSTON;
18          That a copy of this certificate was served on
19    all parties and/or the witness shown herein on
20    __________________________.
21          I further certify that pursuant to FRCP No.
22    30(f)(i) that the signature of the deponent:
23              was requested by the deponent or a party
24    before the completion of the deposition and that the
25    signature is to be returned within 30 days from date

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1     of receipt of the transcript.            If returned, the

2     attached Changes and Signature Page contains any

3     changes and the reasons therefor;

4              was not requested by the deponent or a party

5     before the completion of the deposition.

6           I further certify that I am neither counsel

7     for, related to, nor employed by any of the parties

8     in the action in which this proceeding was taken,

9     and further that I am not financially or otherwise

10    interested in the outcome of the action.

11          Certified to by me this 14th day of February, 2020.

12

13

14                           <%13288,Signature%>

15

16                       Tamara Chapman, CSR, RPR, CRR

17                       CSR NO. 7248; Expiration Date: 04-30-21

18                       Veritext Legal Solutions

19                       Firm Registration No. 571

20                       300 Throckmorton Street, Suite 1600

21                       Fort Worth, Texas         76102

22                       800-336-4000

23

24

25

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                        Federal Rules of Civil Procedure

                                       Rule 30



         (e) Review By the Witness; Changes.

         (1) Review; Statement of Changes. On request by the

         deponent or a party before the deposition is

         completed, the deponent must be allowed 30 days

         after being notified by the officer that the

         transcript or recording is available in which:

         (A) to review the transcript or recording; and

         (B) if there are changes in form or substance, to

         sign a statement listing the changes and the

         reasons for making them.

         (2) Changes Indicated in the Officer's Certificate.

         The officer must note in the certificate prescribed

         by Rule 30(f)(1) whether a review was requested

         and, if so, must attach any changes the deponent

         makes during the 30-day period.




         DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

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         2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

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          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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    transcript of the colloquies, questions and answers
    as submitted by the court reporter. Veritext Legal
    Solutions further represents that the attached
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    documents as submitted by the court reporter and/or
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                        EXHIBIT 5
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1                  UNITED STATES BANKRUPTCY COURT
2                  CENTRAL DISTRICT OF CALIFORNIA
3                           LOS ANGELES DIVISION
4
5     _________________________
6     In re: SCOOBEEZ, et al., ) Case No.
7     debtors and debtors in                    ) 2:19-bk-14989-WB
8     possession.                               ) Jointly
9                                               ) Administered:
10                                              ) 2:19-bk-14991-WB;
11                                              ) 2:19-bk-14997-WB
12    _________________________
13
14
15                      DEPOSITION OF VADIM KOZIN
16                         Los Angeles, California
17                       Friday, January 17, 2020
18                                    Volume I
19
20    Reported by:
21    LORI M. BARKLEY
22    CSR No. 6426
23    Job No. 3854256
24
25    PAGES 1 - 246

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1                 UNITED STATES BANKRUPTCY COURT
2                 CENTRAL DISTRICT OF CALIFORNIA
3                        LOS ANGELES DIVISION
4
5     _________________________
6     In re: SCOOBEEZ, et al., ) Case No.
7     debtors and debtors in              ) 2:19-bk-14989-WB
8     possession.                         ) Jointly
9                                         ) Administered:
10                                        ) 2:19-bk-14991-WB;
11                                        ) 2:19-bk-14997-WB
12    _________________________
13
14
15
16          Deposition of VADIM KOZIN, Volume I,
17    taken at 865 South Figueroa Street, 10th Floor,
18    Los Angeles, California, beginning at 9:42 a.m., and
19    ending at 3:54 p.m., on Friday, January 17, 2020,
20    before LORI M. BARKLEY, Certified Shorthand Reporter
21    No. 6426.
22
23
24
25

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1     APPEARANCES:
2
3     For HILLAIR CAPITAL MANAGEMENT, LLC:
4         QUINN, EMANUEL, URQUHART & SULLIVAN
5         BY:     JENNIFER NASSIRI
6                         - and -
7                 BECCA E. DAVIS
8         Attorneys at Law
9         865 South Figueroa Street, 10th Floor
10        Los Angeles, California 90017
11        213.443.3000
12        jennifernassiri@quinnemanuel.com
13        beccadavis@quinnemanuel.com
14
15
16    For SCOOBEEZ:
17        MCNUTT LAW GROUP
18        By:     SHANE MOSES
19        Attorney at Law
20        219 9th Street
21        San Francisco, California 94103
22        415.995.8475
23        smoses@ml-sf.com
24
25

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1     APPEARANCES OF COUNSEL (continued):
2
3     For AMAZON LOGISTICS:
4         MORGAN LEWIS
5         BY:     RICHARD W. ESTERKIN
6         Attorney at Law
7         300 South Grand Ave, 22nd Floor
8         Los Angeles, California 90071-3132
9         213.612.1163
10        resterkin@morganlewis.com
11
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6              BY MS. NASSIRI                                               9
7
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9                                    EXHIBITS
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11    Exhibit 50        Hillair Capital Management, LLC's                  15
12                      Notice of Deposition of Vadim
13                      Kozin
14
15    Exhibit 51        Eighteenth Amendment to Work                       61
16                      Order under the Delivery Provider
17                      Terms of Service, Bates stamped
18                      SCOOBEEZ-0000479 through
19                      SCOOBEEZ-0000492
20
21    Exhibit 52        E-mail from Judith Lozano, dated                   92
22                      September 14, 2016, Bates stamped
23                      AMAZON_E000051
24
25

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2                                    EXHIBITS
3     NUMBER                       DESCRIPTION                         PAGE
4     Exhibit 53        E-mail from Vadim Kozin, dated                      99
5                       June 20, 2016, Bates stamped
6                       AMAZON_E000048
7
8     Exhibit 54        E-mail from Vadim Kozin, dated                     106
9                       March 5, 2017, Bates stamped
10                      AMAZON_E000062
11
12    Exhibit 55        E-mail from Nick Solari, dated                     110
13                      April 25, 2019, Bates stamped
14                      AMAZON_E000066
15
16    Exhibit 56        E-mail from Suzy Ohanessian,                       115
17                      dated September 17, 2018, Bates
18                      stamped AMAZON_E000063
19
20    Exhibit 57        E-mail Chain, from November 2019,                  127
21                      Bates stamped AMAZON_E000146
22                      through AMAZON_E000156
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4     Exhibit 58        E-mail Chain from July 2019,                       156
5                       Bates stamped AMAZON_E000187
6                       through AMAZON_E000189
7
8     Exhibit 59        E-mail Chain from April 2018,                      161
9                       Bates stamped AMAZON_E000177
10                      through AMAZON_E000181
11
12    Exhibit 60        E-mail from Vadim Kozin, dated                     169
13                      September 25, 2018, Bates stamped
14                      AMAZON_E000065
15
16    Exhibit 61        E-mail from David Ojeda, dated                     174
17                      February 12, 2018, Bates stamped
18                      AMAZON_E000173 through
19                      AMAZON_E000174
20
21    Exhibit 62        E-mail chain with attachments,                     182
22                      dated September 2019, Bates
23                      stamped AMAZON_E000190
24
25

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4     Exhibit 63        E-mail from Brett Ogi to Vadim                     190
5                       Kozin, dated September 19, 2019,
6                       with attachments, Bates stamped
7                       AMAZON_E000192
8
9     Exhibit 64        Excel Spreadsheet, Bates stamped                   196
10                      AMAZON_E000379
11
12    Exhibit 65        E-mail Chain, dated April 14-15,                   212
13                      2017, Bates stamped
14                      AMAZON_E000166 through
15                      AMAZON_E000167
16
17    Exhibit 66        E-mail Chain from Nick Solari to                   217
18                      Vadim Kozin, Bates stamped
19                      AMAZON_E000182 though
20                      AMAZON_E000184
21
22    Exhibit 67        E-mail Chain from January 2020,                    239
23                      Bates stamped SCOOBEEZ-0001653
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 1     Los Angeles, California, Friday, January 17, 2020

 2                              9:42 a.m.

 3

 4                           VADIM KOZIN,

 5    having been administered an oath, was examined and

 6    testified as follows:

 7

 8                            EXAMINATION

 9    BY MS. NASSIRI:

10        Q.    Good morning.                                      10:05:28

11        A.    Good morning.                                      10:05:29

12        Q.    Can you state and spell your name for the          10:05:30

13    record, please?                                              10:05:32

14        A.    Vadim Kozin, V-A-D-I-M.         Last name          10:05:33

15    K-O-Z-I-N.                                                   10:05:38

16        Q.    And I'm Jennifer Nassiri, counsel for              10:05:38

17    Hillair, and my colleague is Becca Davis.                    10:05:43

18              And then counsel.                                  10:05:48

19              MS. MOSES:    Hi.     I'm Shane Moses, counsel     10:05:48

20    for Scoobeez.                                                10:09:48

21              MR. ESTERKIN:       And Richard Esterkin, Morgan   10:05:54

22    Lewis, on behalf of Amazon Logistics.                        10:05:57

23    BY MS. NASSIRI:                                              10:06:00

24        Q.    Mr. Kozin, have you ever been deposed              10:06:01

25    before?                                                      10:06:03

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 1        Q.     Do you consider Scoobeez, look at all the           15:13:54

 2    DSPs that you deal with, subpar compared to the                15:14:04

 3    others?                                                        15:14:07

 4               MR. ESTERKIN:     Objection, vague.                 15:14:07

 5               THE WITNESS:     Yeah, that's --                    15:14:11

 6    BY MS. NASSIRI:                                                15:14:12

 7        Q.     Okay.   So if you had a bell curve -- you are       15:14:12

 8    familiar with a bell curve, right?         Economics, right?   15:14:14

 9    Is Scoobeez at the bottom end -- in your experience,           15:14:18

10    I'm just asking your experience, your personal                 15:14:21

11    experience --                                                  15:14:23

12               MR. ESTERKIN:     Objection, vague.                 15:14:24

13    BY MS. NASSIRI:                                                15:14:25

14        Q.     -- where would Scoobeez fall in that                15:14:26

15    overall?                                                       15:14:28

16        A.     That's a really difficult and vague question        15:14:29

17    to answer.                                                     15:14:31

18        Q.     Why?                                                15:14:32

19        A.     Because, one, I'm not too familiar with the         15:14:33

20    performance at DLA3.       I haven't seen --                   15:14:36

21        Q.     I'm only asking your experience among the           15:14:38

22    DSPs that you interact with and see how they perform           15:14:42

23    and get reports on, that's what I'm asking you.          I'm   15:14:45

24    not asking you to tell me about Chicago or other               15:14:47

25    stations that you're not involved in, so just in your          15:14:51

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 1    experience.                                                 15:14:54

 2        A.    From what I could see, they're average,           15:14:56

 3    yeah.                                                       15:15:01

 4              MS. NASSIRI:   Okay.    I want to take a short    15:15:02

 5    break.                                                      15:15:09

 6

 7              (Recess taken.)

 8                                                                15:37:00

 9    BY MS. NASSIRI:

10        Q.    Remember you're still under oath?                 15:37:02

11        A.    Yes.                                              15:37:04

12        Q.    We were talking before the break about DSP        15:37:04

13    employees that may move around from one DSP to              15:37:11

14    another when the other DSP is being exited from the         15:37:14

15    system.                                                     15:37:17

16              Do you recall that conversation?                  15:37:18

17        A.    Yes.                                              15:37:19

18

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1         I declare under penalty of perjury under the laws
2     of the State of California that the foregoing is true
3                                and correct.
4                       Executed on _____________, 2020, at
5               _____________________, _____________.
6
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9                  _________________________________
10                               VADIM KOZIN
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1     STATE OF CALIFORNIA                ) ss.
2     COUNTY OF LOS ANGELES              )
3
4                 I, Lori M. Barkley, CSR No. 6426, do hereby
5     certify:
6                 That the foregoing deposition testimony
7     taken before me at the time and place therein set
8     forth and at which time the witness was administered
9     the oath;
10                That the testimony of the witness and all
11    objections made by counsel at the time of the
12    examination were recorded stenographically by me, and
13    were thereafter transcribed under my direction and
14    supervision, and that the foregoing pages contain a
15    full, true and accurate record of all proceedings and
16    testimony to the best of my skill and ability.
17                I further certify that I am neither counsel
18    for any party to said action, nor am I related to any
19    party to said action, nor am I in any way interested
20    in the outcome thereof.
21                IN WITNESS WHEREOF, I have subscribed my
22    name this 28th day of January, 2020.
23
24
                  <%6966,Signature%>
25                LORI M. BARKLEY, CSR No. 6426

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                        Federal Rules of Civil Procedure

                                        Rule 30



         (e) Review By the Witness; Changes.

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         deponent or a party before the deposition is

         completed, the deponent must be allowed 30 days

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         (B) if there are changes in form or substance, to

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         (2) Changes Indicated in the Officer's Certificate.

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         and, if so, must attach any changes the deponent

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    as submitted by the court reporter. Veritext Legal
    Solutions further represents that the attached
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    SSAE 16 certified facility.

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                           UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                                LOS ANGELES DIVISION


           In re:
           SCOOBEEZ, et al.                      Case No. 2:19-bk-14989-WB
                                                 Jointly Administered:
            Debtors and Debtors in               2:19-bk-14991-WB;
            Possession.                          2:19-bk-14997-WB
           _________________________
           Affects:
            All Debtors
            Scoobeez, ONLY
            Scoobeez Global, Inc., ONLY
            Scoobur LLC, ONLY
           _________________________


                  VIDEOTAPED 30(b)(6) DEPOSITION OF SCOOBEEZ
                                   GEORGE VOSKANIAN
                                    JANUARY 28, 2020
                                       10:27 a.m.

                           300 South Grand Avenue, 24th Floor
                                Los Angeles, California

                               Diana Janniere, CSR-10034

           Magna Legal Services
           866-624-6221
           www.MagnaLS.com
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     2                                                                    2   EXHIBIT        DESCRIPTION        PAGE
     3   For the Debtors and Debtors in Possession, Scoobeez,             3   10   12/18/17 EMAIL TO MR. KABBANI FROM
         Scoobeez Global, Inc., and Scoobur, LLC:                                 SHAHAN RE RETURNED PACKAGE          267
     4                                                                    4
              FOLEY & LARDNER                                                 11     2/28/19 EMAIL TO K. PERSON FROM
     5        JOHN A. SIMON, ESQ.                                         5         SHAHAN RE DISCUSSION             272
              ONE DETROIT CENTER
                                                                          6   12     5/13/19 EMAIL TO AMAZON LOGISTICS
     6        500 WOODWARD AVENUE, SUITE 2700
              DETROIT, MICHIGAN 48226-3489                                          COMPLIANCE FROM AMAZON LOGISTICS
     7        313.234.7117                                                7         COMPLIANCE RE POLICY REMINDER - DSP
              jsimon@foley.com                                                      OWNERSHIP TRANSFER              295
     8                                                                    8
     9   For Amazon Logistics, Inc.:                                          13     NOTICE OF EXECUTED STALKING HORSE
    10      MORGAN LEWIS                                                  9         PURCHASE AGREEMENT            305
            TINOS DIAMANTATOS, ESQ.                                      10   14     MANAGEMENT REVIEW REPORT CONDUCTED
    11      ANDREW BARBER, ESQ.                                                     9/24/16             321
            77 WEST WACKER DRIVE                                         11
    12      CHICAGO, ILLINOIS 60601-5094                                      15     3/15/17 EMAIL STRING RE LETTER TO
            312.324.1145
                                                                         12         ABT HOLDINGS, ATTACHED ABOT LETTER,
    13      tinos.diamantatos@morganlewis.com
            andrew.barber@morganlewis.com                                           ARTICLE OF INCORPORATION           346
    14                                                                   13
    15   For Hillair Capital Investments:                                     16     TO THE BOARD OF DIRECTORS OF ABT
    16      QUINN EMANUEL URQUHART & SULLIVAN                            14         HOLDINGS               346
            JENNIFER NASSIRI, ESQ.                                       15   17     MR. VOSKANIAN'S HANDWRITTEN NOTES          408
    17      865 SOUTH FIGUEROA STREET, 1OTH FLOOR                        16
            LOS ANGELES, CALIFORNIA 90017                                17         (Original Exhibits 1 - 17 are attached
    18      213.443.3554                                                 18   hereto.)
            jennifernassiri@quinnemanuel.com                             19
    19                                                                   20   INSTRUCTED NOT TO ANSWER - COMMON-INTEREST PRIVILEGE
    20   The Videographer:                                               21           PAGE LINE
    21     VINCENT MAZZA
    22                                                                   22            312 20
    23                                                                   23
    24                                                                   24
    25                                                                   25

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     1            INDEX OF EXAMINATION                                    1        VIDEOTAPED 30(b)(6) DEPOSITION OF SCOOBEEZ
     2   WITNESS: GEORGE VOSKANIAN
     3   EXAMINATION                   PAGE
                                                                          2             GEORGE VOSKANIAN
     4   By Mr. Diamantatos            6                                  3             JANUARY 29, 2020
     5                                                                    4
     6            INDEX OF EXHIBITS
     7   EXHIBIT        DESCRIPTION        PAGE                           5          THE VIDEOGRAPHER: We are now on the record.
     8    1   AMAZON LOGISTICS,INC'S NOTICE OF                            6          This begins Videotape No. 1, in the
             30(b)(6) DEPOSITION OF SCOOBEEZ    14
     9                                                                    7   deposition of George Voskanian, in the matter of
          2     LINKED-IN PROFILE OF MR. VOSKANIAN               26       8   In Re: Scoobeez, et al., in the United States
    10
          3     DELIVERY PROVIDER TERMS OF SERVICE               102      9   Bankruptcy Court, Central District of California,
    11                                                                   10   Los Angeles Division.
          4      FIRST AMENDMENT TO WORK ORDER UNDER
    12          THE DELIVERY PROVIDER TERMS OF SERVICES 104
                                                                         11          Today is January 29, 2020, and the time is
    13    5      DELIVERY PROVIDER TERMS OF SERVICE                      12   10:27 a.m. This deposition is being taken at 300
                (LAST UPDATED: JUNE 21, 2016)                            13   South Grand Avenue, 24th Floor, Los Angeles,
    14          AMAZON BATES H000011             109
    15    6      DELIVERY PROVIDER TERMS OF SERVICE                      14   California 90071, at the request of Morgan Lewis.
                (LAST UPDATED: JUNE 21, 2016)                            15          The videographer is Vincent Mazza of
    16          KEY VEGA 000001              111
    17    7      3/28/16 EMAIL TO IMRAN FROM SHAHAN                      16   Magna Legal Services, and the court reporter is Diana
                RE AUDIT QUESTIONS - AMAZON CONTRACT                     17   Janniere of Magna Legal Services.
    18          ATTACHED NEW PRICING              116
    19    8      10/10/19 EMAIL STRING RE WE'RE THE                      18          Will counsel and all parties present state
                ONLY ONE IN THE SYSTEM ADHERING TO                       19   their appearances and whom they represent.
    20          ALL COMPLIANCE REQUIREMENTS            197
    21    9      DEBTORS' NOTICE OF MOTION AND
                                                                         20          MR. SIMON: John Simon of Foley & Lardner
                EMERGENCY MOTION FOR TRO AND                             21   representing the debtors Scoobeez, et al.
    22          PRELIMINARY INJUNCTION TO PREVENT
                VIOLATION OF THE AUTOMATIC STAY;
                                                                         22          MS. NASSIRI: Jennifer Nassiri, Quinn
    23          DECLARATIONS OF MR. WEISS,                               23   Emanuel, on behalf of Hillair.
                MR. VOSKANIAN, MR. SHEIKH AND                            24          MR. BARBER: Andrew Barber, Morgan Lewis, on
    24          MS. MCDOW IN SUPPORT THEREOF          214
    25                                                                   25   behalf of Amazon.




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     1         MR. DIAMANTATOS: Tinos Diamantatos also on           1      A Yes. The gentleman that's -- myself or the
     2   behalf of Amazon.                                          2   company?
     3         THE VIDEOGRAPHER: Will the court reporter            3      Q You can answer both, so yourself and the
     4   please swear in the witness.                               4   company?
     5                                                              5      A Myself, no, but the company, John Simon.
     6             GEORGE VOSKANIAN,                                6      Q Okay. Excellent.
     7   having been first duly sworn, testifies as follows:        7          Mr. Simon is seated to your left; correct?
     8                                                              8      A Yes.
     9                  EXAMINATION                                 9      Q Okay. Great. So the court reporter, who is
    10   BY MR. DIAMANTATOS:                                       10   here today, is taking down everything that we are
    11      Q Great. Good morning, Mr. Voskanian.                  11   saying on the record, which means that we have to be
    12      A Good morning.                                        12   really mindful to not speak over one another, and I've
    13      Q Will you please state for us and spell your          13   got to be careful not to interrupt your answers. And
    14   full name?                                                14   I would just ask that you also try not to speak over
    15      A George Voskanian. George, G-E-O-R-G-E,               15   us to the extent possible. Okay?
    16   V-O-S-K-A-N-I-A-N.                                        16          Another important point is that all of our
    17      Q Thank you.                                           17   answers have to be verbal, as do the questions. So
    18          Mr. Voskanian, as you just heard, my name is       18   that means that head nods or "um-hmm" answers, which
    19   Tinos Diamantatos, along with my colleague Andrew         19   might work in conversation, don't work for purposes of
    20   Barber. We are both lawyers for Amazon, one of the        20   the record.
    21   parties in this lawsuit; okay?                            21          So to the extent an answer is yes, I would
    22          So we are here today, as you know, as part         22   ask that you say, "yes." If an answer is no, I would
    23   of a lawsuit where certain claims have been made by       23   ask that you say, "no."
    24   Scoobeez as they relate to Amazon.                        24          Does that make sense?
    25          Are you familiar generally with the nature         25      A Yes.
                                                          Page 7                                                    Page 9
     1   of the lawsuit?                                            1       Q If during the course of today we forget
     2       A Yes.                                                 2   that, I will try to perk up and maybe ask a follow-up
     3       Q Okay. Did you have an opportunity to review          3   question and ask you to confirm if it's a yes or a no.
     4   any pleadings associated with the filings that have        4   I am not being confrontational.
     5   been made in the Bankruptcy Court?                         5           I'm just making sure, hopefully, that our
     6       A Yes.                                                 6   record is clear on that. Sound good?
     7       Q Okay. Have you ever been deposed before?             7       A Yeah.
     8       A No.                                                  8       Q As you know, this is a video-taped
     9       Q Have you ever had to prepare for a                   9   deposition. So you are also being video-recorded
    10   deposition before?                                        10   during the course of today's deposition.
    11       A Other than this one?                                11           All right. When I ask a question, to the
    12       Q Yes.                                                12   extent a question of mine does not make sense, please
    13       A No.                                                 13   let me know that.
    14       Q Have you ever testified in a court                  14           If you don't understand the question or need
    15   proceeding on the witness stand under oath before?        15   me to rephrase it, I'd ask that you tell me that. So
    16       A No.                                                 16   that I can do my job and ask you a good, clean
    17       Q This is your first time?                            17   question to make sure that you understand it before
    18       A Yes. I am not in the habit of getting               18   you go ahead and commit to answering it. All right?
    19   lawsuits.                                                 19       A Cool.
    20       Q Okay. I am just going to cover, very                20       Q During the course of the day, we will be
    21   briefly, a few of the ground rules for today just to      21   taking periodic breaks. There's portions of the
    22   make sure that we are on the same page before we start    22   testimony that I expect might be a good stopping point
    23   digging into some of the substance.                       23   to take a break.
    24          All right. Are you represented by a lawyer         24           We will try to take a break every hour, hour
    25   here today?                                               25   and a half or so, depending on where we are at with




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     1       A I think he was trying to look engaged that          1           All right. So Scoobeez, as you sit here as
     2   he was interested in 2.0 not to come across that we       2   a corporate representative of Scoobeez, understood
     3   didn't want it.                                           3   that it was on the DSP 1.0 model and always has been
     4       Q Okay.                                               4   with Amazon; correct?
     5       A But at the same time, he was just -- it's a         5       A Right.
     6   delay tactic. Like, I don't think we ever wanted to       6       Q Scoobeez understood that at least as early
     7   go to 2.0 because, as I said, it doesn't make sense       7   as 2018, if not as early as 2017, based on that first
     8   for DSPs who have a lot of debt.                          8   E-mail that we looked at, that Amazon started to have
     9       Q What about in your individual capacity              9   communications with Scoobeez about switching to a DSP
    10   during this time period, did you have an understanding   10   2.0 model; correct?
    11   of what was going on?                                    11       A Correct. But -- yes.
    12       A My understanding was if you go to 2.0, we          12       Q Hold on.
    13   are going to close doors because our pricing is higher   13       A Yeah.
    14   than the competitors, and given we were one of the,      14       Q And Scoobeez, I think you've indicated, as
    15   sort of, first DSPs, we had taken on stuff that we       15   you sit here, understood that it wouldn't be
    16   should not have taken on. We had gone into a lot of      16   profitable for Scoobeez or cost-effective given
    17   debt. And to service the debt, the 2.0 wouldn't cover    17   Scoobeez --
    18   that. The 2.0 worked for new DSPs, not old ones.         18           Yeah. I'd just, please, ask you not to
    19       Q I understand.                                      19   communicate with your lawyer with phone and messages
    20       A And my suggestion was, like: Look, if you          20   and all of that while the deposition is -- is going
    21   go to 2.0, it is a catch 22. If you don't -- your        21   on.
    22   only client is telling you to move there, but if you     22           If you need to communicate with your lawyer,
    23   do, you are closing doors because, financially, it       23   you can do that outside during a break. Okay?
    24   just simply didn't make sense, given the small pieces    24       A Okay.
    25   of information we were getting.                          25       Q Thank you.
                                                   Page 275                                                      Page 277
     1       Q Okay. All right. I understand. Thank you            1           You indicated that Scoobeez, as you sit here
     2   for your answer. That's --                                2   today in your corporate capacity, had an understanding
     3          So is it fair to say that Scoobeez had no          3   that it would not be profitable for Scoobeez, based on
     4   intention of moving to a DSP 2.0 model ever?              4   its pricing structure, its large footprint, and other
     5       A No, that's not -- that is not fair to say.          5   variables, to switch, actually, from a DSP 1.0 to a
     6   What is fair to say is, our goal was to stay with 1.0     6   DSP 2.0; is that fair?
     7   as long as possible.                                      7           MR. SIMON: Can you repeat the question?
     8       Q Okay. With the understanding that if you            8           THE WITNESS: Yeah.
     9   didn't switch to DSP 2.0, you would be terminated by      9           MR. SIMON: I'm sorry.
    10   Amazon potentially; correct?                             10           THE REPORTER: Let me get it.
    11       A No. No, not terminated, but just to think          11           (Whereupon, the question was read
    12   that there is that risk, you don't want to take that     12           back as follows:
    13   risk because we knew there were other DSP's that were    13           "Q You indicated that Scoobeez,
    14   1.0, so -- and then given our size, it is difficult to   14           as you sit here today in your
    15   terminate us; right?                                     15           corporate capacity, had an
    16          It just -- Scoobeez has always been --            16           understanding that it would not be
    17   that's what is frustrating is, like, it has always       17           profitable for Scoobeez, based on
    18   been so focused on Amazon's satisfaction, and it's       18           its pricing structure, its large
    19   done everything possible to make sure Amazon is happy.   19           footprint and other variables, to
    20          This was one of the things they were like,        20           switch, actually, from a DSP 1.0 to
    21   okay, we need to switch; but we need to figure out a     21           a DSP 2.0; is that fair?")
    22   way to switch and the timing of things.                  22           THE WITNESS: Given the information we were
    23       Q All right. Let me go back,                         23   given -- and, again, we didn't receive the actual
    24   Mr. Ohanessian -- I'm sorry -- Mr. Voskanian, to a few   24   structure of 2.0.
    25   things that you have just said. So --                    25




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    1        A No. That was -- because we focused on the           1   here, that -- with Amazon, that -- and he CC'd
    2    large pieces. First, we had to figure out the large       2   David Ojeda -- is that right -- on this E-mail
    3    pieces, but we didn't know the pricing, No. 1.            3   according to the stamp?
    4            But what we did know was, like: A, if -- if       4          And I know you're not on this E-mail
    5    it is streamline pricing, we are definitely giving        5   yourself.
    6    back our gains, and that's -- it is basically just        6       A I see the first E-mail being CC'd. The
    7    something that it was difficult for us to sustain         7   second one, I don't know who's CC'd on it.
    8    given our --                                              8       Q Got it. Okay. But at least the first one,
    9        Q Okay. Did you have an understanding as to           9   we see he BCC'd David Ojeda?
   10    whether or not Amazon under the 2.0 wanted it to be      10       A Yup.
   11    more hands-on in terms of the owner actually             11       Q And I'm not sure why the format looks like
   12    day-to-day operating the business at the various D.C.    12   this. This, as you know, is a document produced by
   13    locations?                                               13   your lawyers, so I have the same format that you are
   14        A I -- if that was their intention, maybe, but       14   looking at.
   15    I don't -- it would not affect us at all because we      15       A Yeah.
   16    had extensive travel of senior management to the         16       Q Okay. You indicated earlier that it was
   17    locations anyway, so it felt like we had, you know --    17   your understanding that trying for -- Scoobeez wanted
   18        Q Right. So it sounds like based on the              18   to stay on that 1.0 model as long as possible;
   19    criteria that you've described for us, there was one     19   correct? Is that fair?
   20    positive or net positive, the fuel issue you described   20       A I mean, we were -- we were happy to move to
   21    for us and explained to us.                              21   2.0 if -- that was make it or break it -- and we
   22            Other changes from the 1.0 to 2.0 may not        22   were -- we would find a way to, you know, be
   23    necessarily be favorable for Scoobeez; right?            23   sustainably positive, you know, profitable if that was
   24            So the pricing that you described, the           24   the case.
   25    renting issues and then the whole dispatcher             25          But if we know that there are other DSPs
                                                  Page 287                                                       Page 289
     1   reimbursement, those were all negatives, candidly, for    1   that are 1.0 and they are not moving, why should we,
     2   Scoobeez switching to 2.0 in your estimation; correct?    2   you know, move if it is detrimental?
     3      A Correct.                                             3       Q I understand. So let's break that down a
     4      Q All right. In this E-mail exchange that we           4   little bit.
     5   are looking at in the exhibit that is in front of you,    5           So we've already established, Scoobeez is a
     6   according to Mr. Shahan -- I will just call him that      6   1.0. You indicated a moment ago that Scoobeez would
     7   for short.                                                7   be willing to move to 2.0 if it became, I think you
     8      A Okay.                                                8   said, "make it or break it"; right?
     9      Q It is clear that he describes having                 9       A Right.
    10   received an E-mail link or a contract from David --      10       Q Okay. Would you agree with me that it was a
    11   right -- and that that link at some point expired; is    11   business risk for Scoobeez to not move to 2.0, not
    12   that right?                                              12   knowing how Amazon would ultimately react to that?
    13      A Yes.                                                13       A Yes and no, because Amazon was sort of in
    14      Q At the top of the E-mail, the one sent,             14   the habit of in the past rolling out a program and
    15   according to the time stamp on the E-mail,               15   rolling it back. They would always start with
    16   February 28, 2019. Mr. Ohanessian tells Cari, "Hi. I     16   something, and they're like oh, nevermind.
    17   hope all is well. I'm following" -- sorry --             17           They would launch this program. Oh,
    18   "following up about this E-mail seeking your support     18   nevermind. And then, we heard a lot about the 2.0's
    19   to migrate to the new DSP contract. I still don't        19   problems that Amazon was not happy with.
    20   have access to the link previously sent and was          20       Q Okay.
    21   recently informed that the DSC 1.0 migrations were put   21       A So the problem with the 2.0's is, they don't
    22   on hold. Any help you can offer would be greatly         22   pay overtime to drivers -- I mean, I am sorry --
    23   appreciated," and then the E-mail goes on.               23   Amazon does not pay overtime to DSPs. Currently, we
    24          So am I correct that it -- in this E-mail,        24   get paid for overtime.
    25   we see that Mr. Shahan is describing, at least to Cari   25       Q Okay. So, Mr. Voskanian, I don't want to be




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    1    copy?                                                     1           DECLARATION ERRATA SHEET
    2            MS. NASSIRI: Yes, electronic only.                2
                                                                   3
    3            THE REPORTER: Thank you.
                                                                   4   Our Assignment No. 546157
    4            (The deposition concluded at 7:38 p.m.)
                                                                   5   Case Caption: In re: Scoobeez, et al.
    5                    ***                                       6
    6                                                              7
    7                                                              8         DECLARATION UNDER PENALTY OF PERJURY
    8                                                              9         I declare under penalty of perjury that I
    9                                                             10   have read the foregoing transcript of my deposition
   10                                                             11   taken in the above-captioned matter or the same has
   11                                                             12   been read to me, and the same is true and accurate,
   12                                                             13   save and except for the changes and/or corrections, if
   13                                                             14   any, as indicated by me on the DEPOSITION ERRATA SHEET
   14                                                             15   hereof, with the understanding that I offer these
   15                                                             16   changes as if still under oath.
                                                                  17         Signed on the _______ day of
   16
                                                                  18   ______________________________, 2020.
   17                                                             19
   18                                                             20
   19                                                             21
   20                                                                              ___________________________
   21                                                             22
   22                                                                                GEORGE VOSKANIAN
   23                                                             23
   24                                                             24
   25                                                             25

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     1            REPORTER'S CERTIFICATION                         1           DEPOSITION ERRATA SHEET
     2                                                             2   Page No._______Line No.________Change to:_____________
     3     I, Diana Janniere, a Certified Shorthand Reporter,      3   ______________________________________________________
     4   in and for the State of California, do hereby certify:    4   Page No._______Line No.________Change to:_____________
     5                                                             5   ______________________________________________________
     6     That the foregoing witness was by me duly sworn;        6   Page No._______Line No.________Change to:_____________
     7   That the deposition was then taken before me at the       7   ______________________________________________________
     8   time and place herein set forth; that the testimony       8   Page No._______Line No.________Change to:_____________
     9   and proceedings were reported stenographically by me      9   ______________________________________________________
    10   and later transcribed into typewriting under my          10   Page No._______Line No.________Change to:_____________
    11   direction; and that the foregoing is a true record of    11   ______________________________________________________
    12   the testimony and proceedings taken at that time.        12   Page No._______Line No.________Change to:_____________
    13                                                            13   ______________________________________________________
    14     IN WITNESS WHEREOF, I subscribed my name               14   Page No._______Line No.________Change to:_____________
    15   this 7th day of February, 2020.                          15   ______________________________________________________
    16                                                            16   Page No._______Line No.________Change to:_____________
    17                                                            17   ______________________________________________________
    18                                                            18   Page No._______Line No.________Change to:_____________
    19                                                            19   ______________________________________________________
    20                _____________________________               20   Page No._______Line No.________Change to:_____________
    21                Diana Janniere, CSR No. 10034               21   ______________________________________________________
    22                                                            22   Page No._______Line No.________Change to:_____________
    23                                                            23   ______________________________________________________
    24                                                            24   SIGNATURE:_______________________DATE_________________
    25                                                            25        GEORGE VOSKANIAN




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    24   SIGNATURE:_______________________DATE_________________
    25        GEORGE VOSKANIAN




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                                                                           Page 1
                           UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                                LOS ANGELES DIVISION


           In re:
           SCOOBEEZ, et al.                      Case No. 2:19-bk-14989-WB
                                                 Jointly Administered:
            Debtors and Debtors in               2:19-bk-14991-WB;
            Possession.                          2:19-bk-14997-WB
           _________________________
           Affects:
            All Debtors
            Scoobeez, ONLY
            Scoobeez Global, Inc., ONLY
            Scoobur LLC, ONLY
           _________________________


                  VIDEOTAPED DEPOSITION OF SCOTT A. SHEIKH
                                    JANUARY 29, 2020
                                       10:06 a.m.


                           300 South Grand Avenue, 24th Floor
                                Los Angeles, California

                               Diana Janniere, CSR-10034


           Magna Legal Services
           866-624-6221
           www.MagnaLS.com
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    13      tinos.diamantatos@morganlewis.com                                 17     VERIFIED COMPLAINT - HILLAIR CAPITAL
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    15   For Hillair Capital Investments:                                14         (Original Exhibits 1 - 17 are attached
    16      QUINN EMANUEL URQUHART & SULLIVAN                            15   hereto.)
            BECCA E. DAVIS, ESQ.                                         16
    17      865 SOUTH FIGUEROA STREET, 10TH FLOOR
            LOS ANGELES, CALIFORNIA 90017                                17   INSTRUCTED NOT TO ANSWER - ATTORNEY-CLIENT PRIVILEGE
    18      213.443.3554                                                 18          PAGE    LINE
            beccadavis@quinnemanuel.com                                  19           16    9
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     1   INSTRUCTED NOT TO ANSWER - ATTORNEY-CLIENT PRIVILEGE 1         VIDEOTAPED DEPOSITION OF SCOTT A. SHEIKH
     2           PAGE     LINE                                   2           JANUARY 28, 2020
     3           149     10                                      3
     4           150     24                                      4          THE VIDEOGRAPHER: We are now on the record.
     5           151     21                                      5   This begins Videotape No. 1 in the deposition of Scott
     6           153     13                                      6   Sheikh in the matter of In Re: Scoobeez, et.al, in
     7           158     17                                      7   the United States Bankruptcy Court, Central District
     8           159     11                                      8   of California, Los Angeles Division.
     9           165     15                                      9          Today is January 28, 2020, and the time is
    10           173      9                                     10   10:06 a.m. This deposition is being taken at 300
    11           280     15                                     11   South Grand Avenue, 24th Floor, Los Angeles,
    12           283     23                                     12   California 90071, at the request of Morgan Lewis.
    13           285     20                                     13          The videographer is Vincent Mazza of Magna
    14           286     13                                     14   Legal Services, and the court reporter is Diana
    15           290     20                                     15   Janniere of Magna Legal Services.
    16           297     12                                     16          Will counsel and all parties present state
    17           298      2                                     17   their appearances and whom they represent?
    18           300    7, 20                                   18          MR. SIMON: John Simon, counsel for the
    19           301    4, 21                                   19   debtors, Scoobeez, et al.
    20           302     10                                     20          MS. DAVIS: Becca Davis, counsel for
    21           307     25                                     21   Hillair.
    22           308      7                                     22          MR. BARBER: Andrew Barber on behalf of
    23           317     14                                     23   Amazon.
    24           319     20                                     24          MR. DIAMANTATOS: Tinos Diamantatos also on
    25           320     15                                     25   behalf of Amazon.
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     1   INSTRUCTED NOT TO ANSWER - ATTORNEY-CLIENT PRIVILEGE    1             SCOTT A. SHEIKH,
     2          PAGE      LINE                                   2   having been first duly sworn, testifies as follows:
     3           334     8                                       3
     4           337     12                                      4                 EXAMINATION
     5                                                           5   BY MR. DIAMANTATOS:
     6                                                           6      Q Okay. Good morning, Mr. Sheikh.
     7                                                           7      A Good morning.
     8                                                           8      Q If you could please state your full name for
     9                                                           9   us and spell the last.
    10                                                          10      A Sure. It's Scott Amin Sheikh, S-H-E-I-K-H.
    11                                                          11      Q Okay. Mr. Sheikh, as you just heard, my
    12                                                          12   name is Tinos Diamantatos. I'm one of the attorneys
    13                                                          13   that's here today for Amazon.
    14                                                          14          Our purpose for being here today is to ask
    15                                                          15   you questions with regard to certain claims that
    16                                                          16   Scoobeez has made against Amazon. Okay. Am I correct
    17                                                          17   that you're an attorney?
    18                                                          18      A That's correct.
    19                                                          19      Q We'll get into some of your background in
    20                                                          20   more detail a little bit later this morning, but have
    21                                                          21   you ever been deposed before?
    22                                                          22      A I have.
    23                                                          23      Q Okay. Approximately how many times?
    24                                                          24      A Twice.
    25                                                          25      Q Were those in connection with civil cases?




                                                                                             3 (Pages 6 to 9)
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     1   made, if any, to try to obtain scorecards of any other    1   that I'm familiar with, I could tell you if these are
     2   DSP?                                                      2   ones that I've seen.
     3       A I don't know if he made any such efforts.           3          Amazon posts the scorecards, I believe, on
     4       Q What about mask efforts?                            4   their logistics platform. The -- the underlying data,
     5          What I mean by that is get rid of the names        5   I mean, we don't store. So I would have no way to
     6   of the other DSPs, but be able to compare how you're      6   verify that.
     7   doing based on the scorecard to other DSPs with their     7          So I -- I don't have reason to doubt it, but
     8   names masked.                                             8   I don't have any reason to believe that it's
     9          Do you know whether anybody at Scoobeez made       9   completely accurate either.
    10   any efforts to obtain that type of information?          10      Q Okay. Is the information that Scoobeez
    11       A I don't know the -- I don't know the answer.       11   posts in terms of the scorecard, is it something that
    12       Q Do you know whether Mr. Munoz did                  12   Scoobeez accesses on a regular basis during its own
    13   specifically or not?                                     13   course of business?
    14       A No.                                                14      A So -- you said, "Scoobeez posts." So Amazon
    15       Q Okay. You already told us a moment ago that        15   posts.
    16   it sounds like there was a five kind of point system     16      Q Sorry, Amazon posts, I misspoke.
    17   on the scale.                                            17      A No, no problem. And yes, we -- we get them
    18          On the one end of the spectrum, Mr. Sheikh,       18   on a weekly basis, I believe on Tuesday.
    19   you started with poor, and then, it went up to fair,     19      Q All right. And by weekly, they at least
    20   then, it went to great; then, it went to fantastic,      20   cover the previous week's period, so they're made at
    21   then, it went to fantastic plus; right?                  21   the time that the -- they're -- that the DSP, in this
    22       A Correct.                                           22   case Scoobeez, is out there doing the work for Amazon;
    23       Q Obviously, given the name convention, it's         23   correct?
    24   your understanding that poor is not -- on the not good   24      A So the one we get on Tuesday of this week --
    25   end and fantastic plus is on the fantastic plus good     25   so is today Tuesday? Yes.
                                                   Page 235                                                     Page 237
    1    end; right?                                               1       Q Yes.
    2        A Correct.                                            2       A Would cover the last Sunday to Saturday
    3        Q Based on that, given that there are five            3   calendar week.
    4    kind of points along the scale, is it your                4       Q Okay.
    5    understanding that great is essentially an -- an          5       A So yes. I haven't seen today's yet, but --
    6    average score?                                            6       Q All right. You've described Scoobeez as a
    7        A I don't know the answer to that. I mean, I          7   high performer for Amazon; right?
    8    would be speculating, but, I mean, given that there       8       A During what period of time?
    9    are five tiers -- I know that fantastic plus is           9       Q During -- let's -- great -- great
   10    extremely difficult to achieve.                          10   clarification point.
   11        Q Okay.                                              11          What about -- let's take your May 10th, 2019
   12        A So if you take that out of the equation, you       12   forward.
   13    have four left, I would assume that fair is, like, the   13       A Sure.
   14    middling position.                                       14       Q Would you call Scoobeez as a -- as a high
   15        Q Okay. All right. So according to you, fair         15   performer for Amazon?
   16    is a middling position; is that what you said?           16       A So I -- I wasn't directly involved in
   17        A That is what I said, yes.                          17   operations between May and August. Mrs. Ohanessian
   18        Q Okay. All right. Do you have any reason to         18   was.
   19    dispute the authenticity or veracity of the scorecards   19       Q Okay.
   20    that were produced by Amazon?                            20       A I began getting involved in operations in
   21           And I can show them to you.                       21   August, and I've seen an upward trajectory in the --
   22        A I mean, dispute them as to what?                   22   in the scorecard since then.
   23        Q That they are what they purport to be. I'm         23       Q Okay. So is it your testimony you have
   24    just looking for a foundational ground point here.       24   reviewed since -- what period did you start becoming
   25        A Sure. I mean, if you showed me scorecards          25   more operationally involved post-May 2019?




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     1      Q -- but also some poor scores at other                1   specifics, but, you know, at different points, you
     2   locations, including one that improved from poor to       2   know, I've heard through the grapevine through, again,
     3   fantastic during some period of time; correct?            3   the -- our dispatchers; our hub leaders; our
     4      A I mean -- and I'm going to just ask you to           4   operations lead; you know, how Amazon perceives the
     5   make -- make sure I understand your question.             5   performance; but from Amazon directly, the answer is
     6      Q Sure.                                                6   no.
     7      A Are you asking whether Scoobeez has, in              7          Actually, I take that back. Mr. Kozen, when
     8   fact, had scores that ranged from the poor part of the    8   I met with him a few months ago did -- did mention
     9   spectrum to the fantastic part of the spectrum in         9   that he -- he -- you know, he's happy with the service
    10   2019?                                                    10   that Scoobeez provides -- Scoobeez provides, so --
    11      Q Yes.                                                11       Q Amazon has site leads at each of their
    12      A The answer is yes.                                  12   distribution centers; correct?
    13      Q Okay. In May of 2019, where you came in and         13       A I don't know how their internal structure
    14   started at least getting your feet wet with the          14   works. I know they have a hierarchy, and presumably,
    15   operational component, I know that increased as you've   15   they have somebody at each hub.
    16   described over time in 2019, did you have a sense of     16       Q Okay. Tab 60.
    17   how Amazon viewed Scoobeez as a performer?               17       A I apologize. I also heard from Aarie
    18      A Not direct knowledge.                               18   Hibbler at DCH-2 -- A-A-R-I-E, H-I-B-B-L-E-R.
    19      Q What about indirectly? Did anybody at               19          THE REPORTER: Slow down. Start over.
    20   Scoobeez tell you, hey, here's what Amazon thinks of     20          THE WITNESS: H-I-B-B-L-E-R last name.
    21   us?                                                      21   Aarie, A-A-R-I-E, over at DCH-2 in Morton Grove that,
    22      A I -- when -- up to a certain point, most of         22   you know, they were pleased with Scoobeez'
    23   what I've learned about operations was either through    23   performance. This was a few months back.
    24   Mr. Voskanian or Mrs. Ohanessian. Mrs. Ohanessian        24          (Exhibit 9 marked.)
    25   took the position that, you know, Amazon loved us.       25
                                                  Page 251                                                      Page 253
     1           And when I say "us," I'm referring to             1   BY MR. DIAMANTATOS:
     2   Scoobeez. And Mr. Ohanessian was more data oriented       2      Q I'm going to hand you what has been labeled
     3   and would, you know, refer me to, you know, when he       3   as Sheikh Exhibit 9. It's a two-page document. It's
     4   was explaining to me what these scorecards are and        4   Bates label is Hillair 00000798 through 799.
     5   what they mean; and how they operate; more to -- to       5          Take a moment to familiarize yourself with
     6   the data side of things.                                  6   that.
     7           But whether I have any direct knowledge of        7      A Okay.
     8   conversations with Amazon or statements made by           8      Q Are you familiar with that E-mail?
     9   Amazon, the answer is no.                                 9      A I am familiar with the part where it says
    10       Q Okay. I think you just answered the last           10   begin forwarded message.
    11   piece there. There's nothing from Amazon directly to     11      Q Great. Okay.
    12   you conversation-wise that would indicate how pleased    12      A I know that Mr. Voskanian sent that E-mail
    13   Amazon was with Scoobeez; is that fair?                  13   to Mr. Kaufman.
    14       A To -- to me, no. I mean, I've heard from           14      Q Okay. So your reference saying the first
    15   our employees out on the field -- you know, for          15   E-mail which appears on the bottom of 798 and spills
    16   example, when during peak -- this past peak season in    16   over onto 799, that E-mail you are a carbon copy
    17   DCH-1 when they're performing well, they -- you know,    17   recipient on it; correct?
    18   the local -- the local folks have different ways of, I   18      A Yeah, that's the third E-mail.
    19   guess, passing their time.                               19      Q The previous two E-mails -- or the following
    20           I guess, at DCH-1, for example, they have        20   two E-mails, I should say, later in time on the --
    21   this WWE heavyweight belt that they hand out to what     21      A Sure.
    22   they perceive as the best performing DSP; and that was   22      Q -- front page of the document, you are no
    23   given to one of our -- our hub leader in DCH-1 back      23   longer on that E-mail chain. You drop off from that.
    24   in, I think, December or earlier this year.              24          So you're familiar with the E-mail that
    25           You know, going back, I mean, I don't recall     25   you're on, of course; correct?




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     1   only members of the board and lack of any independent     1   your description of, you know, look, now the petition
     2   oversight? Anything outside of your attorney-client       2   had been filed, there's bankruptcy oversight?
     3   privileged communications?                                3          Were any operational controls put in place
     4       A No.                                                 4   from your tenure of co-CEO May of 2019 going forward
     5       Q Coming in as int -- sorry, not interim. The         5   to make sure that there's additional oversight of any
     6   co-CEO in May of 2019, as you became aware over the       6   kind aside from what you've already described?
     7   next several months of some of these alleged              7       A Sure. From what I understand, there are
     8   improprieties in the public filings at least that you     8   weekly -- per the cash collateral stipulation, there
     9   were reading, did that give you concern about how         9   are weekly financial reports that are provided.
    10   Scoobeez had conducted its business in the past?         10          There's also an agreement that any check
    11       A Did that give me concern? To the extent            11   that is paid above -- or any payment that's made above
    12   that I learned new issues during that time, yes.         12   I think $10,000 is approved by the chief restructuring
    13       Q What were those concerns, obviously, and how       13   officer. Again, all this is in -- in the public
    14   you would implement them going forward potentially       14   sphere.
    15   from an operational standpoint?                          15       Q Okay.
    16       A Well, I -- the concerns weren't from an            16       A I think taken together, those -- those
    17   operational standpoint. They were more from a -- a       17   things, you know, provide sufficient oversight.
    18   legal standpoint, so I don't think I can answer that.    18       Q Do you know -- what about the appointment of
    19       Q Operationally you need to have cash flow;          19   independent board members for oversight of upper
    20   right?                                                   20   management?
    21           MR. SIMON: Just to be technically correct,       21       A Sure, we -- we have three independent board
    22   I think you're not going here, but I'm just going to     22   members.
    23   technically object --                                    23       Q Okay. What about engaging an accounting
    24           MR. DIAMANTATOS: Okay.                           24   firm to conduct a review or audit of the business?
    25           MR. SIMON: -- on the basis of                    25       A I believe that for the first several months
                                                  Page 287                                                      Page 289
     1   attorney-client privilege to make sure that that's        1   post-petition, and perhaps currently still, we had a
     2   noted for the record.                                     2   financial advisor firm that was overseeing a lot of
     3          MR. DIAMANTATOS: Okay.                             3   stuff.
     4          THE WITNESS: So, I mean, post-petition, I          4        Q Okay. Are you aware as to whether or not in
     5   mean, we opened a debtor in possession bank account,      5   May -- I'm sorry, March of 2017 Shahan and Scoobeez'
     6   which is monitored by the -- you know, several            6   CFO, Imran Firoz, met with Neal Kaufman and Sean
     7   parties, including the U.S. Trustee's Office.             7   McAvoy to discuss emergency capital infusion into the
     8   BY MR. DIAMANTATOS:                                       8   business?
     9       Q Sure.                                               9        A No.
    10       A And an independent board was thereafter            10        Q Do you have any knowledge as to whether or
    11   selected, consisting of the three gentlemen that I've    11   not as a result of that meeting Firoz notified Hillair
    12   mentioned earlier. And, you know -- and the -- and       12   Partners of Shahan's financial improprieties, alleged
    13   those people weren't the same as the officers.           13   financial improprieties?
    14          So I think that in that regard, you know,         14        A Could you repeat the question?
    15   those potential, you know, operational issues were       15        Q Sure.
    16   resolved.                                                16           Do you have any knowledge as to whether or
    17       Q Okay. So at that point, given the nature of        17   not as a result of that meeting Firoz notified Hillair
    18   the bankruptcy oversight, you didn't have concern of     18   Partners of Shahan's alleged financial improprieties?
    19   folks misappropriating Scoobeez' funds for some other    19        A I don't know if those were connected.
    20   purpose; is that what you're saying?                     20        Q Do you know whether or not the company did
    21       A That's correct. I think that, you know,            21   need emergency capital during that time frame, March
    22   given the oversight that's provided, I don't think       22   of 2017?
    23   that's as big a concern.                                 23        A I don't know.
    24       Q Do you know whether or not additional              24        Q Okay. And if you don't know that, then,
    25   controls were being put in place aside from, you know,   25   it's fair to say that you don't know if they did




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     1             REPORTER'S CERTIFICATION                        1          DEPOSITION ERRATA SHEET
     2                                                             2   Page No._______Line No.________Change to:_____________
     3     I, Diana Janniere, a Certified Shorthand Reporter,      3   ______________________________________________________
     4   in and for the State of California, do hereby certify:    4   Page No._______Line No.________Change to:_____________
     5                                                             5   ______________________________________________________
     6     That the foregoing witness was by me duly sworn;        6   Page No._______Line No.________Change to:_____________
     7   That the deposition was then taken before me at the       7   ______________________________________________________
     8   time and place herein set forth; that the testimony       8   Page No._______Line No.________Change to:_____________
     9   and proceedings were reported stenographically by me      9   ______________________________________________________
    10   and later transcribed into typewriting under my          10   Page No._______Line No.________Change to:_____________
    11   direction; and that the foregoing is a true record of    11   ______________________________________________________
    12   the testimony and proceedings taken at that time.        12   Page No._______Line No.________Change to:_____________
    13                                                            13   ______________________________________________________
    14     IN WITNESS WHEREOF, I subscribed my name               14   Page No._______Line No.________Change to:_____________
    15   this 7th day of February, 2020.                          15   ______________________________________________________
    16                                                            16   Page No._______Line No.________Change to:_____________
    17                                                            17   ______________________________________________________
    18                                                            18   Page No._______Line No.________Change to:_____________
    19                                                            19   ______________________________________________________
    20                 _____________________________              20   Page No._______Line No.________Change to:_____________
    21                 Diana Janniere, CSR No. 10034              21   ______________________________________________________
    22                                                            22   Page No._______Line No.________Change to:_____________
    23                                                            23   ______________________________________________________
    24                                                            24   SIGNATURE:_______________________DATE_________________
    25                                                            25        SCOTT A. SHEIKH

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     1           DECLARATION ERRATA SHEET                          1          DEPOSITION ERRATA SHEET
     2                                                             2   Page No._______Line No.________Change to:_____________
     3                                                             3   ______________________________________________________
     4   Our Assignment No. 546154                                 4   Page No._______Line No.________Change to:_____________
     5   Case Caption: In re: Scoobeez, et al.                     5   ______________________________________________________
     6                                                             6   Page No._______Line No.________Change to:_____________
     7
                                                                   7   ______________________________________________________
     8         DECLARATION UNDER PENALTY OF PERJURY
                                                                   8   Page No._______Line No.________Change to:_____________
     9         I declare under penalty of perjury that I
                                                                   9   ______________________________________________________
    10   have read the foregoing transcript of my deposition
                                                                  10   Page No._______Line No.________Change to:_____________
    11   taken in the above-captioned matter or the same has
    12   been read to me, and the same is true and accurate,      11   ______________________________________________________
    13   save and except for the changes and/or corrections, if   12   Page No._______Line No.________Change to:_____________
    14   any, as indicated by me on the DEPOSITION ERRATA SHEET   13   ______________________________________________________
    15   hereof, with the understanding that I offer these        14   Page No._______Line No.________Change to:_____________
    16   changes as if still under oath.                          15   ______________________________________________________
    17         Signed on the _______ day of                       16   Page No._______Line No.________Change to:_____________
    18   ______________________________, 2020.                    17   ______________________________________________________
    19                                                            18   Page No._______Line No.________Change to:_____________
    20
                                                                  19   ______________________________________________________
    21
                                                                  20   Page No._______Line No.________Change to:_____________
                     ___________________________
                                                                  21   ______________________________________________________
    22
                                                                  22   Page No._______Line No.________Change to:_____________
                       SCOTT A. SHEIKH
    23                                                            23   ______________________________________________________
    24                                                            24   SIGNATURE:_______________________DATE_________________
    25                                                            25        SCOTT A. SHEIKH




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                                             PROOF OF SERVICE OF DOCUMENT
        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
        Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
        A true and correct copy of the foregoing document entitled (specify): DECLARATION OF SHANE J. MOSES IN
        SUPPORT OF DEBTORS’ SUPPLEMENTAL BRIEF (A) IN FURTHER SUPPORT OF THE DEBTORS’ EMERGENCY
        MOTION FOR PRELIMINARY INJUNCTION TO PREVENT VIOLATION OF THE AUTOMATIC STAY, AND (B) IN
        OPPOSITION TO AMAZON LOGISTICS INC.’S MOTION MODIFYING THE AUTOMATIC STAY will be served or was
        served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
        below:

        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
        Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
        02/19/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
        following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                                      Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL:
        On (date) 02/19/2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
        or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
        class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
        judge will be completed no later than 24 hours after the document is filed.

        Honorable Julia W. Brand
        United States Bankruptcy Court
        Central District of California
        Edward R. Roybal Federal Building and Courthouse
        255 E. Temple Street, Suite 1382
        Los Angeles, CA 90012

                                                                                                     Service information continued on attached page

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
        for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 02/19/2020, I served the
        following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
        such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
        that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
        filed.




                                                                                                     Service information continued on attached page

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
           02/19/2020               Sonia Gaeta                                        /s/ Sonia Gaeta
           Date                     Printed Name                                       Signature




                     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

                 Richard T Baum rickbaum@hotmail.com, rickbaum@ecf.inforuptcy.com
                 Michael Jay Berger michael.berger@bankruptcypower.com,
                  yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
                 Bradley E Brook bbrook@bbrooklaw.com, paulo@bbrooklaw.com;brookecfmail@gmail.com
                 Richard W Esterkin richard.esterkin@morganlewis.com
                 John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
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                 Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
                 United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                 Kimberly Walsh bk-kwalsh@texasattorneygeneral.gov
                 Eric D Winston ericwinston@quinnemanuel.com
                 Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




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